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|V|ASTER AGREE|V|ENT

'COV_ER|NG CE|V|ENT FIN|SH|NG AND |V|ASONRY
TRADES |N THE STATE OF HAWA||

" By and between

 

 

" lNTERNATiONAL UN|ON OF
BR|CKLAYERS & ALL|ED CRAFTWORKERS,
LOCAL NO. 'I OF HAWAl|, AFL-C|O

v and the

h OPERATFVE PLASTERERS & CE|V|ENT l\/IASONS
|NTERNATlONAL ASSOC|AT|ON OF
THE UN|TED STATES AND CANADA
LOCAL NO. 630, AFL-CIO

 

 

and the

|\/IASON CONTRACTORS ASSOC|AT|ON OF HAWA||

 

and

ANY PERSON, F|R|Vl, CORPORAT|ON, OR OTHER
ENT|TY THAT BECON|ES S|GNATORY HERETO

Effective September 1, 2008 and including August 31, 2014

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Classification, Work Coverage, And Hourly Wage

Schedules Covering Cement Finishers & Masons In the

State of Hawaii

Stipulation

Classifications - Cement Masons

1. Letters Of Understanding Regarding Jurisdictional
Disputes

Classifications - Bricklayers And Allied

Craftworkers

1. Tool List For Bricklayer Masons Union

2. Tool List For Cement Finishers Of The Mason
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3. Tool List For Combination Bricklayers Masons Of The
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4. Tool List For Bricklayers Of The Mason Contractors
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Assignment of Wages To Cover Union Dues, Assessments,

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Assignment Of Wages To Cover Union Dues, Assessments,

And Initiation Fees

Notification Of Loaned Employee And Assignment Of Wages

To Cover Union Dues, Assessments And Initiation Fees

Notification Of Loaned Employee And Assignment Of Wages

To Cover Union Dues, Assessments And Initiation Fees

Notice Of Quits, Layoffs, And/Or Terminations

Confirmation Of Hiring Slip

Physical Qualification Questionnaire

Classification, Examination, And Retraining

Supplementary Apprentice Employment Procedures

Notification Regarding "Davis-Bacon" Project

Saturday AS A Straight Time "Make Up" Day And/Or

Workweek Of Other Than Five 8-Hour Days, And/Or

Nightwork

Notification To Union And To Employees Regarding

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Notification To Employees Of Failure Of Employer To

Make Payment Of Contributions On Their Behalf Under

Section 14 H-4

Certification Of Receipt And Acceptance Of Master

Agreement Covering The Cement Finishing And Masonry

Trades In The State Of Hawaii

Agreement Covering Drugs And Other Controlled
Substance On Construction Job Sites In The State Of
Hawaii

 

 

LABOR AGREEMENT COVERING THE FINISHERS AND
MASONRY TRADES IN THE STATE OF HAWAII

The Contractor acknowledges that the Unions have presented
satisfactory proof of representation of the employees of
Contractors covered under this Master Agreement.

NOW THEREFORE:

THIS AGREEMENT is made and entered into by and between;

INTERNATIONAL UNION OF BRICKLAYERS & ALLIED CRAFTWORKERS,
LOCAL NO~ l OF HAWAII, AFL-CIO

AND THE OPERATIVE PLASTERERS & CEMENT MASONS INTERNATIONAL
ASSOCIATION OF THE UNITED STATES AND CANADA,
LOCAL NO. 630, AFL-CIO
(each of whom is hereinafter referred to as the “Union”)
AND THE
MASON CONTRACTORS ASSOCIATION OF HAWAII

(hereinafter referred to as the “Association”)
for and on behalf of those person, firms, corporations, or either
entities who are of Who become signatory to this Agreement

pursuant to the provisions of Section 3.C hereof

(each such signatory being hereinafter referred to as
“Contractor”)

AND
ANY OTHER PERSON, FIRM, CORPORATION, OR OTHER ENTITY
THAT, PURSUANT TO THE PROVISIGNS OF SECTION 3.C
HEREOF, BECOME SIGNATORY HERETO

Effective September 1, 2008 to and including August 31, 2014

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SECTION 1

DURATION

This Agreement shall be binding upon the respective parties
effective September l, 2008, to and including August 31, 2014, and
shall be considered as renewed from year to year thereafter unless
either party hereto shall give written notice to the other of its
desire to modify, amend, or terminate the same. Any such notice
must be given by the party desiring to modify, amend, or terminate
the Agreement, at least one hundred eighty (180) calendar days
prior to the expiration date, but not more than two hundred ten

(210) calendar days prior to the expiration date, In the event
such notice is given, and only in such event, negotiations for a
new agreement shall commence as soon as possible. If such notice

shall not be given, the Agreement shall be deemed to be renewed for
the succeeding year.

SECTION 2
COVERAGE

A. Work Covered. The work covered under this Agreement shall be

all of the work performed by craftworkers falling within the
recognized jurisdiction of the International Union of Bricklayers
and Allied Craftworkers, AFL-CIO (hereinafter referred to as "IUBAC

or Union"] and the Operative Plasterers and Cement Masons
International Association, AFL-CIO (hereinafter referred to as
"OPCMIA or Union"). The Union has shown that the work covered in

Exhibit "A" will be assigned to the employees covered by the IUBAC
or the OPCMIA as outlined, but not limited to Exhibit "A" attached
hereto and made a part hereof. Also included under this section
shall be International Agreements granting jurisdiction of any work
to the IUBAC or OPCMIA. Coverage shall also extend to and include
any' additional classifications, technological changes, and new
products that may be developed and other means and n@thods of
installation that is introduced in the area of trade practice as
provided for in Section 10.E Wages (New Job Classifications.) The
established Jurisdictional Decisions of record by the NLRB, The
Stipulated Plan of the BCT for The Construction Industry decisions,

and International Union Agreements as covered and provided for in
Exhibit "A" of this agreement shall supersede any other
jurisdictional claims made by any other trade unions.

B. Employees Covered

 

l. The employees covered by this Agreement are those
employees of the Contractor employed in the State of
Hawaii in the classification set forth in the
Classification and Hourly Wage Schedule which is attached
hereto as Exhibit "A" and made a part hereof, including
any additional classifications that may be added thereto
pursuant to the provisions of Section 10.E Wages (New Job
Classifications) of this Agreement.

2. The following classifications and employees are
specifically excluded from coverage under this Agreement:
office clerical employees, confidential employees,
professional employees, watchpersons, and supervisors as
defined in the National Labor Relations Act, as amended.

C. Contractors shall assign work covered by this Agreement only to
bargaining unit employees covered by this Agreement. In the event a
dispute arises as to the assignment of such covered work, the
parties involved shall meet immediately to resolve the dispute. If
an agreement between parties cannot be made, then the issue shall be
immediately sent to the International Unions for settlement under
the Stipulated Plan for the Settlement of Jurisdictional Disputes in
the Construction Industry as approved by The Building and
Construction Trade Dept., AFL-CIO. Each Contractor signatory to
this Agreement shall agree to be bound by the terms and provisions
of the Plan and will sign the Stipulation forms which is made a part
of Exhibit "A".

If the Contractor has misassigned covered work that falls under the
jurisdiction of Local #l, IUBAC or Local #630, OPCMIA then the
Unions shall have the right to file a grievance under Section 22
(Grievance Procedures and Arbitration).

D. Understanding Jurisdiction:

 

l. The parties agree to allow the use of composite crews
in accordance with the Contractors’ or their
subcontractors' past practices.

2. The contractors commit that they Will not pressure in
subcontractors signatory to the Masons union to become
signatory with other trades for the performance of work
covered by this Agreement. Contractors will not back
charge a subcontractor signatory to the Masons Union
for any work which it performs with its own force as a
result of any jurisdictional dispute over work covered
by this Agreement and work claimed by any other trade
or union.

3. The above classification of work shall be in compliance
with any jurisdictional agreements between
international unions. Whenever the work in question can
be claimed by more than one craft or the work required
would result in inefficient situations, the parties
shall attemptito establish composite crews. It is also
understood that covered work only pertains to that
work set forth in the Agreement whose assignments is in
control of the Contractor and which will be performed
by employees or subcontractors of the Contractor.

SECTION 3

RECOGNITION

The Association and each Contractor covered hereby recognizes
the Union as the exclusive collective bargaining
representative of all employees covered by this Agreement.

The Union recognizes the Association as the exclusive
collective bargaining representative of its individual members
who are or who become signatory to this Agreement.

Contractor coverage under this Agreement shall be accomplished
by Contractor signature and Union countersignature of the
"Certificate of Receipt and Acceptance of the Master

Agreement" form, a copy of which is attached hereto as Exhibit
"L" and made a part hereof.

The .Association. will notify the Union in writing' of new
Contractor members who are or who become signatory to this
Agreement and it shall also notify the Union in whenever any
Contractor memberships are terminated or canceled.

SECTION 4

MUTUAL OBLIGATIONS AND RESPONSIBILITIES

By ratification of this Agreement, the Contractor guarantees
that he/she will pay specified. wage rates, make certain
contributions toward employee benefits, and provide certain
terms and conditions in return for the services and labor of
employees covered hereby.

In consideration of the above, each employee covered by this
Agreement has aa definite obligation and responsibility to
better his/her efficiency, to upgrade his/her skills, and to
perform a full eight (B) hours of productive work each and
every workday.

In line with this, the Union and the Association hereby commit
themselves to cooperate with one another in the development of
ways, means, and programs that will make for a more efficient,
productive, and responsible work force.

Also, it is the desire of the Union and the Contractor to
maintain a harmonious working relationship between themselves
and to cooperate to the extent possible ill attempting to
resolve mutual problems that face Hawaii's Construction
Industry.

SECTION 5

UNION SECURITY

Each employee covered by this Agreement shall, as a condition
of continued employment, become a member of this Union not
later than the tenth (lOM) working day following the date of
his/her employment or the execution date of this Agreement,
whichever is later, and the employee shall thereafter maintain
such membership in good standing by continuing to tender dues
to the Union for the duration of this Agreement.

The Union agrees to consider for membership all present and
future employees who apply for membership. If an applicant is
denied membership by the Union, he/she shall not be required
to comply with the provisions of this Section.

Upon written notice from the Union of failure on the part of
any individual to complete membership in the Union, as
required above, or of failure to continue payment of dues to
the Union, the Contractor shall, within five (5) working days
of such notice, discharge said employee.

SECTION 6

AUTHORIZED DEDUCTIONS

 

If an employee signs proper authorization forms (sample copies
of which are attached hereto as Exhibits "B" and "B-l"), the
Contractor shall deduct from the wages of said employee all
Union dues, Union initiation fees, and Union assessments,
which are due from, said employee.

In requesting deductions for "assessments," the Union shall
restrict such request to assessments assessed on all members
of the Union employed by the Contractors covered hereby or
signatory hereto on a uniforn1 basis as an incidence of
membership in the Union,

The Union's monthly' dues shall be deducted. on a once~a~
month/one-month-in-advance basis and shall be transmitted by

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the Contractor to the Union so that they are received by the
Union by the fifteenth (lEm) day of the month immediately
following the month in which the deduction was made (e.g.,
dues which are due on June first shall be deducted during the
month of May and shall be transmitted by the Contractor to the
Union so that they are received by the Union by June
fifteenth.)

1. In the event it is determined that a Contractor has
violated this section the following penalties shall be
imposed on said Contractor:

(a) liquidated damages in the amount of ten percent
(10%) of such delinquent and unpaid dues or twenty-
one ($21.00) dollars, whichever‘ is greater, for
each and every delinquent monthly amount,

(b) all audit and collection costs, and

(c) if the delinquency is turned over to an attorney
for collection, reasonable attorney's fees and all
costs of action, together with all other reasonable
expenses incurred in connection with such suit or
claim, including any appellate proceedings therein.

2. If the Contractor disputes that a violation has occurred,
then the Joint Industry Committee shall determine if such
violation has occurred and that such penalties shall be
imposed. `

 

The Union's per~hour dues, as well as its per-hour Masons and
Plasterers Fraternal Association assessment, and any other
deductible amounts which are based cnl hours worked by an
employee, shall be deducted on a weekly basis and shall be
transmitted by the Contractor to the Union at the same time as
Trust Fund payments are transmitted.

Transmittal of any and all amounts deducted pursuant to this
Section shall be by way of check drawn to the order of the
Union cn: the MPRA. Upon issue of such check(s) and the
transmission of same to the Union, all responsibility on the
part of the Contractor shall cease with respect to any amount
`so deducted so long as such check(s) is honored on being
presented for payment. The Union hereby undertakes to

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indemnify and hold the Contractor harmless from any claims
that may be made upon said Contractor for or on account of any
such deduction from the wages of any employee.

SECTION 7

NO STRIKE OR LOCKOUT

 

The parties hereto agree that during the term of this
Agreement there shall be no lockout by the Contractor nor any
strike, stoppage of work, or slowdown on the part of the Union
or its representatives or on the part of any employee covered
by the terms of this Agreement, except as provided under
paragraphs B and C below.

Nothing in this Agreement shall be construed as giving a
Contractor the right to require his/her employees to cross a
legitimate picket line. A legitimate picket line is one that
is not in violation of the law.

If a Contractor fails to make timely payments to any of the
Trust Funds provided for in this Agreement, OR if he/she fails
to make timely transmittals of amounts deducted for Union
dues, initiation fees, and assessments, as provided for under
Section 6 (Authorized Deductions), and so long as either of
these conditions continue, it shall not be a violation of this
Agreement for the Union to withdraw its members from the
performance of work for said Contractor. In each case, the
Union shall give written notice to the Contractor involved of
its intent to withdraw its employees, and the Contractor shall
be given five (5) working days from receipt of said notice in
which to make necessary full payment. If such full payment is
not made within said five {5) day period, the Union shall then
be free to withdraw its employees and to continue said
withdrawal until full payment is made,

It is mutually understood and agreed that neither the
Association, any Contractor, nor the Union shall be liable for
damages caused by the acts or conduct of any individual or
groups of individuals who are acting or conducting themselves
in violation of the terms of this Agreement, provided that

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such action or conduct has not been specifically authorized,
participated in, fomented, or condoned by the Association, any
Contractor, or the Union, as the case may be.

In the event of any unauthorized violation of the terms of
this Agreement, responsible and authorized representatives of
the Union, the Association, or the Contractor, as the case may
be, shall promptly take such affirmative action as is within
their power to correct and terminate such violation for the
purpose of bringing such unauthorized persons into compliance
with the terms of this Agreement. Such individuals acting or
Conducting themselves in lviolation of the terms of this
Agreement shall be subject to discipline, up to and including
discharge.

SECTION 8

DISCIPLINE OR DISCHARGE

 

Employees shall be subject to discipline or discharge for just
cause.

A probationary period of ten (10) working days shall be
established for all new employees and such new employees may
be summarily discharged; provided, however, that the
Contractor and the Union may agree on a case-by-case basis to
extend the probationary period to twenty (20) working days.

 

 

 

Any discharged employee other than probationary employees
shall, upon request, be furnished the reason(s) for his/her
discharge in writing within two (2) working days after the
request is made.

If the Contractor takes action under this section which the
employee or the Union believes is not for just cause, either
the employee and/or the Union shall have the right to process
such grievance through the grievance procedure as provided
under Section 22 (Grievance Procedure and Arbitration).

No employee shall be disciplined, discharged, or discriminated
against for legitimate Union activity; provided, however, that
such activity shall not interfere with the Contractor's

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operation. Additionally, such activity shall not be conducted
during working hours (excluding meal breaks) except where a
Steward is properly exercising his/her duties under the
provisions of Section 21 (Union Steward).

SECTION 9

APPRENTICESHIP AND TRAINING

Joint Apprenticeship and Training Committee. The parties
agree to continue the Joint Apprenticeship Committee composed
of equal Contractor and Union representation to program and
operate a system of apprenticeship and training in conformance
with State and Federal laws. Such Committee shall have the
authority to act for and on behalf of the Contractor and the
Union. The parties Will comply with any recommendation made
by the Committee.

Ratio of Apprentices to Journeyperson. The ratio of
apprentices to journeyperson shall be determined by the Joint
Apprenticeship and Training Committee.

Classification, Examination, and Retraining. The Joint
Apprenticeship and Training Committee shall also be empowered:

1. to conduct a training program for employees and
applicants for employment other than apprentices, and

2. when its jurisdiction has been invoked pursuant to the
provisions of Exhibit “F" (Classification, Examination,
and Retraining) as attached hereto and made a part
hereof:

(a) to determine the qualifications for employment of
any employee or applicant for employment by
appropriate examination and otherwise, and

(b) to classify or reclassify them as either
Journeyperson or Apprentices or to certify them as

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being unqualified or unfit for employment, as the
case may be, in any phase of the Concrete Finishing
and Masonry Trades.

Supplementary Apprentice Employment Procedures. The parties
also agree to utilize the U.S. Department of Labor-approved
Supplementary Apprentice Employment Procedure, attached hereto
as Exhibit “G."

 

SECTION 10

WAGES

 

Wage Schedule. Attached hereto as Exhibit "A" and made a part
of this Agreement is the wage schedule, which shall be
effective for the term of this Agreement.

Payment of Wages

l. Each employee covered by this Agreement shall be paid not
later than quitting time by Friday of each week;
provided, however, that in no event shall more than one
calendar week's wages be withheld at any one time. In
the event Friday falls on a holiday (whether recognized
under this Agreement or not) on which local banks will be
closed, the Contractor shall make every effort to provide
the employees with their paychecks by Thursday of that
week.

2. Unless due to any emergency situation or other verifiable
circumstances acceptable to the Joint Industry Committee,
a contractor does not have his/her employee's paychecks
available for pick-up by Friday (by Thursday if Friday is
a holiday), the employee or employees affected shall be
entitled to a lump sum penalty payment of twenty dollars
($20.00) for each working day that said paycheck is not
available (to include the day by which payment was due).
The Contractor shall also pay or reimburse an employee
for any finance charges, penalties, and other direct
costs (such as checking account overdraw charges, late
payment charges, interest penalties and the like) that
are charged to an employee as a result of a late paycheck

 

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or a paycheck "bouncing" due to insufficient funds. The
Contractor shall also reimburse the employee for the cost
of any long-distance telephone calls relating to the
matter as may be made by the employee.

3. When an employee is laid off for lack of work, said
employee shall be paid all wages earned and due as of the
time of separation. If the employee's separation

paycheck is drawn in an incorrect amount due to the
employee leaving work early, being a “no show" on one of
the employee's scheduled workdays during that week, or
for other cause for which the employee is responsible,
then the employee‘s separation check, as corrected, shall
be paid to him/her no later than the working day
following the date of layoff.

4. When an employee is discharged for cause, said employee
shall be paid all Wages due at the time of discharge.
However, if the discharge occurs at a time and under
conditions which. prevent the Contractor from making
immediate payment, then all wages due must be paid to the
employee no later than the working day following the
discharge.

5. When an employee quits, said employee shall be paid all
wages due no later than the next regular payday either
through regular pay channels or, if requested by the
employee, by mail. However, if an employee gives at
least five (5) working days‘ notice of his/her intention
to quit, the Contractor shall pay all wages earned and
due to said employee at the time of separation.

6. Inasmuch as the provisions of paragraphs 4 and 5 above
are required of State law, it is incumbent upon the
Contractor to develop and maintain appropriate procedures
for payment of same.

Records and Requests. Each Contractor shall provide a proper
means for registering time, working time, and quitting time.
In the event of a dispute over time, wages, or fringe
payments, such records will be promptly accessible to the
Business Representatives of the Union during working hours.

 

Work on Pacific Ocean Islands Outside the State of Hawaii. If

 

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an employee who has been hired and is otherwise an employee of
the Contractor in the State of Hawaii and is required by the
Contractor to report to work on any Pacific Ocean Island
outside the State of Hawaii, said employee shall be paid at no
less than the wage rates specified in Exhibit "A"
Classification and Hourly Wage Schedule). The Contractor
shall also make payments to the Health and Welfare Trust Fund,
Training Trust Fund, and any other Fund that may be
established during the term of this Agreement on behalf of
said employee.

New Job Classifications

 

1. Nothing in this Agreement shall prevent the Association
from negotiating or nmking agreement with the Union
covering any new job classifications which fall within
the jurisdiction of the International Union of
Bricklayers and Allied Craftworkers, AFL-CIO, and the
Operative Plasterers and Cement Masons of the United
States and Canada, AFL-CIO, but which are not presently
covered by this Agreement. If and when such new job
classifications are contemplated, authorized
representatives of the Association and of the Union shall
immediately enter into negotiations to establish proper
wage rates for such classification(s).

2. In the event the aforesaid parties are unable to reach
agreement on. the 'matter, either' party' may' refer the
disagreement to the Joint Industry Committee.

3. Pending the establishment of such wage rate, the
Contractor may introduce and use said classification(s)
at a temporary rate of pay as determined by such
Contractor. Should a higher rate of pay be established
for' said. classification(s) by' either the negotiating
parties (i.e., the Union and the Association) or the
Joint Industry Committee, the retroactive application of
said higher wage rate shall be limited to twenty (20)
working days.

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NOTE:

SECTION ll

HOURS AND OVERTIME

 

Workweek

The standard workweek shall be Monday through Friday,
inclusive. The standard workweek shall also include
Saturday if Saturday is a make-up day.

However, in the event that weather, equipment breakdown,
power failure, work stoppage or cmher labor dispute,
accident, and/or any' other condition. or circumstance
which is beyond the control of the Contractor prevents
employees from starting work on any one or more of the
regularly scheduled Monday through Friday workdays or
prevents employees from working a full shift on any of
said days, then Saturday, at the Contractor*s option, may
be scheduled as a make-up day at the employee's regularly
straight time rate. On said Saturday, the straight time
rate shall apply for the employee's first eight hours of
work or upon completion of forty (40) straight time hours
of work for that week, whichever occurs first, and one
and one- half (1-1/2) times the employee's regular
straight time rate for all hours worked thereafter.

At the present time, subparagraphs 1 and 2 above would be
applicable ONLY on PRIVATE and FEDERAL jobs. The law
would have to be changed in order for said paragraphs to
be applicable on State or County projects.

 

 

 

 

The provisions of paragraph 2 above are designed to allow
a Contractor the flexibility of "making up“ time during
that same workweek for time lost on his/her project(s)
due to the causes listed, as well as to provide employees
the opportunity to secure additional work hours during
that week which would not otherwise be made available to
them. In that connection, the use of the phrase "any
other condition. or circumstance which is beyond the
control of the Contractor" is intended to cover
situations of a substantive and verifiable nature.

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Contractors shall not schedule Saturday make-up days to
"neke-up" work lost due to holidays specified under
Section 13.A.

Complaints, problems, and/or allegations that a
Contractor has misused or abused the Saturday "make-up"
day provisions as set forth in Section 11.A.2 or the
provisions of Section. 11.A.6 (a), (b), (c), or has
violated the intent thereof as set forth in paragraph 3
above shall be processed as an Expedited Grievance to the
State Joint Board as provided for under Section 22
(Grievance Procedure and Arbitration). In the event the
State Joint Board determines that a violation has
occurred, it shall impose the following penalties on said
Contractor:

(a) First Offense

1. Order the Contractor to pay the overtime rate
to the employees affected for the work
performed on the project involved (i.e., pay
an additional one-half [1/2] times for the
hours worked).

2. PLUS pay a fine equal to two (2) times the
amount of that penalty (i.e., fine of one [1]
hour's pay for each hour worked).

(b) Second Offense

1. Order the Contractor to pay the overtime rate
to the employees affected for the work
performed on the project involved (i.e., pay
an. additional one-half [1/2] times for~ the
hours worked).

2. PLUS pay a fine equal to three (3) times the
amount of that penalty (i.e., fine of one-and-
one-half [1-1/2] hour's pay for each hour
worked).

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3. PLUS disqualify the Contractor from further
use of the Saturday "make-up“ day provision on
the project involved.

4. PLUS Contractor to show cause to the State
Joint Board with respect to said Contractor's
future use of said provision(s) on any of such
Contractor's projects for the duration of the

 

 

 

 

agreement.
6. The Contractor may, by written mutual agreement with the

Union (on a project-by-project basis) schedule:

(a) four (4) consecutive ten 10-hour days during the
period from Monday through Friday which shall be
paid for at the regular straight time hourly rate,
or

(b) four (4) nine 9-hour days (Monday through Thursday)
plus (4) four hours on Friday, all of which hours
shall be paid for at regular straight time hourly
rates.

(c) inj either of such events, either Friday' and/or
Saturday may, at the Contractor's optionr be
scheduled as a straight time make-up day under the
same conditions as set forth in paragraph 2 above.

NOTE: At the present time, paragraphs 6(a), (b) and (c) above
would be applicable ONLY on PRIVATE and FEDERAL jobs. The
law would have to be changed in order for said paragraphs
to be applicable on State or County projects.

B. Workday

1. Except where shift work or night work is scheduled, the

normal workday for an employee covered by this Agreement
shall begin between the hours of 6:00 a.m. and B:OO a.m.
The starting time for a project shall be established by
the Contractor prior to the start of said project and,
once established, shall not be changed except by mutual
agreement of the Contractor and the Union.

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However, if the State law, local ordinance, job
specification, or written instruction of the owner or
his/her representative requires that work commence at a
later hour, it shall be at the Contractor‘s discretion as
` to whether the starting time as provided in paragraph B.l
above shall apply or whether the starting time as imposed
by State law, local ordinance, job specification, or by
the aforementioned written instruction shall apply, in
either case without payment of overtime or other premium
rate. In such situation, the Contractor shall
nevertheless afford the affected employees with eight(B)
straight time hours of work opportunity (exclusive of
meal periods), or pay for same unless the employee quits,
voluntarily lays off, or is suspended or discharged prior
to the completion of said eight (8) hour period, or the
Contractor is unable to provide such work due to weather
conditions, equipment breakdown, power failure, accident,
suspension of work by written order of the contracting
agency, or other reason outside of the Contractor's
control. n

Except as provided in paragraphs B.l and B.2 above, other
starting times also without payment of overtime or other
premium may be established by mutual agreement between
the Contractor and the Union.

Overtime

Overtin@ `Rate. Overtime af. one-and-one-half (1-1/2)
times the employee's regular straight time rate shall be
paid for:

(a) All work performed in excess of eight straight time
hours in any one day, OR:

(i) in excess of ten (10) straight time hours in
any one (1) day where a workweek of four (4)
consecutive ten 10-hour days has been
scheduled by the Contractor, or

(ii) in excess of nine (9) straight time hours,
Monday through Thursday, and four (4) hours on
Friday where such a workweek has been

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D.

scheduled by the Contractor pursuant to the
provisions of Section 11, paragraph A.5 (b).

(b) All work performed by an employee before the
employee's shift begins and after it ends.

(c) All work performed on Saturdays, except where such
Saturday has been scheduled as a make-up day by the
Contractor pursuant to the provisions of Section
11.A.2, in which case overtime shall be paid after
the employee*s completion of eight (8) straight
time hours of Work on said Saturday make-up day or
after the completion of forty (40) straight time
hours of work for that week, whichever occurs
first,

(d) All work performed on Sundays or on holidays as
listed in Section 13 (Holidays). An employee
scheduled to work on a Sunday or holiday who gives
the Contractor advance notice (24 hours) of his/her
inability' to work due to a jprevious commitment
shall be excused from said Sunday or holiday work.

Reckoning of Overtime Hours. Overtime hours shall be
reckoned by the quarter hour,

No Pyramiding. Whenever two (2) or more overtime or
premium rates are applicable to the same hour or hours
worked, there shall be no pyramiding or adding together
of such rates and only the higher of the applicable rates
shall be applied.

Assignment of Overtime Work. If overtime work is to be
assigned, the work shall be assigned to the members of
the crew (to the extent needed) or to the operators of
the equipment required who, during the regular workday,
have been performing the particular work involved.

 

Time

Meal

An employee covered by this Agreement shall be afforded a
meal period of at least thirty (30) minutes to begin from
the third (3“1) through the fifth {5'=“) hour @f the Shift.

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If an employee is required to work more than four through
five and one-half (4 to 5-1/2)hours without starting a
meal period, said employee shall be paid at one-and-one-
half (1-1/2) times his/her regular straight time rate for
all time worked after said fifth (5“) hour until Such
time is afforded the opportunity to eat.

2. If the employee is already being paid at the time-and-
one- half (1-1/2) rate by reason of Saturday, Sunday, or
holiday work, he/she shall receive two (2) times his/her
regular straight time rate for all time worked after
fifth (5”) hour until such time as he/she is afforded
the opportunity to eat.

3. Whenever overtime work exceeds two-and-one-half (2 1/2)
hours past the quitting time of their shift, employees
will be afforded a meal period of at least one-half (1/2)
hour at the end of said two-and-one£half (2-1/2)hour
period of overtime work. Said meal period shall not be
paid for or counted as time worked. If overtime work
continues for four (4) hours after the conclusion of said
meal period, the employees shall be afforded a similar
meal period at the end of each similarly measured four
(4)-hour period said four 4-hour period thereafter.

4. If the employee is not afforded a meal period as provided
for in paragraph 3 above, he/she shall be paid at two (2)
times his/her regular straight time rate for all time
worked after the applicable period of overtime work until
such time as he/she is afforded the opportunity to eat.

5. If an employee qualifies for a meal period as provided
for in paragraph 3 above, the Contractor shall provide a
meal. Such meal shall be of good quality and shall be
nutritious.

Show-up Time

1. Employees or qualified applicants ordered to report to
work at a job site for whom no employment is provided
shall be entitled to one (1) hour's pay unless prevented
fronl working for reasons beyond the control of the
Contractor (including inclement weather).

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2. The Contractor may require or request an employee to
remain on the job for up to thirty (30} minutes past the
employee's normal starting time pending possible
abatement or cessation of inclement weather or other
cause which had prevented work from starting, without
paying show-up time to said employee. Should such
requirement or request extend beyond thirty (30) minutes
past the employee's normal starting time, said employee
shall be entitled to show-up time of one (1) hour's pay,
unless such employee quits, voluntarily lays off, or is
suspended or discharged prior to the completion of said
one (1) hour period. Said waiting time (standby time)
shall not be considered as hours Worked for purposes of
making Contractor contributions to the various Trust and
other Funds as provided for in this Agreement.

 

 

 

 

 

 

 

 

 

 

 

 

3. In the event the employee starts work but such work is
subsequently shut down by reason of inclement weather,
equipment breakdown, power failure, or fatal accident,
said employee shall be paid for actual time worked, but
in no case shall that payment be less than one (1) hour's
pay at the employee's regular straight time rate of pay.

F. Shift Work

1. Two-Shift Operation. Where a two-shift operation is
scheduled, an employee's first eight(B) hours of work per
day on his/her shift (exclusive of meal period) shall be
paid for at said employee's regular straight time rate;
provided, however, that where a two (2)shift operation is
scheduled on the basis of a workweek of four (4)
consecutive lO-hour days, then the straight time rate
shall be paid for the employee's first ten (10) hours of
work per day on his/her shift (exclusive of meal period).

 

 

2. Applicable to Two-Shift Operations. On shift work: (a)
employees working a shift who comes off on Saturday
morning are to be considered working Friday; (b) an

employee working a shift coming off work on Sunday
morning is to be considered working Saturday; and 9c) an
employee working a shift coming off work on. Monday
morning is to be considered working Sunday.

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Night Work. Where night work is scheduled, an employee's
first eight (8) hours of work; per day' on said \Nork
(exclusive of meal period) shall be paid for at the
employee's regular straight time rate; provided, however,
that where such work is scheduled on the basis of a
workweek of four (4) consecutive ten (10)-hour days (or
on. the basis of four (4) nine (9)-hour' days Monday
through Thursday plus four (4) hours on Friday), then the
straight time rate shall be paid in accordance with that
schedule.

H. Wages on Day of Injury

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Whenever an employee sustains an industrial injury or
illness covered under the State of Hawaii Workers'
Compensation Law, he/she shall be paid for the same
number of hours as worked on that day by other employees
in said employee's same crew, but not to exceed eight (8)
hours at said employee's applicable rate of pay;
provided, however, that said employee provides the
Contractor with a physician's statement verifying said
employee's treatment and disability for the remainder of
the day. The employee shall be allowed to go to the
physician of said employee's choice.

If the employee requires transportation in securing the
aforesaid medical treatment, such transportation shall be
provided by the Contractor.

I. Emergency Call-Out

 

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Any employee called out to perform emergency work and who
so reports at the time specified, shall be paid at the
applicable overtime rate for all hours worked on such
emergency call-out. Such employee shall receive a
minimum of two (2) hours' work, or if two (2) hours' work
is not furnished¢ a 1ninimun1 of two (2) hours' pay;
provided, however, that such two (2) hour minimum shall
not apply if the employee quits, voluntarily lays off, or
is suspended or discharged prior to the completion of
said two (2) hour period. Said two (2) hour minimum
shall also not apply if the emergency work for which said
employee is called out continues up to said employee's

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normal starting time, in which event the employee shall
be paid at the overtime rate only for actual number of
hours worked (and would not include travel time) up to
said employee‘s normal starting time.

2. In computing time spent on emergency call-out, such time
shall include time spent in traveling from the employee‘s
home or the place from which the employee was called, as
the case may be, directly to the job site, but shall not
include the return trip.

3. The provisions of Section D.2 (Meal Period) shall apply
to employees who are performing emergency call-out work.

Listing Material. If an employee covered by this Agreement
is required by the Contractor to list material from the plans,
specifications, or any other document and said work is to be
performed either before or after his/her regular' working
hours, said employee shall be paid at one-and-one-half (1-1/2)
times his/her regular straight time rate for all time so spent
either before or after his/her regular working hours.

SECTION 12

TEMPORARY TRANSFER

 

An employee covered by this Agreement shall not be transferred
to perform work outside of his/her craft, except in the event
of nonavailability or failure to report of the craftsworkers
called for, or in the event of emergency.

When an employee is required to work temporarily on a job of a
higher classification covered by this Agreement, he/she shall
receive the pay of the higher classification for the actual
hours worked in that classification.

When an employee is required to work temporarily on a job of a
lower classification covered by this Agreement, he/she shall
receive the pay of his/her regular wage classification, unless
such change is made permanent.

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A transfer made for the convenience of an employee shall not

be deemed a temporary transfer irrespective of the duration of
the transfer.

'I'his section shall not apply to grievance or claims by a
working foreman that he/she is performing the work of a
foreperson.

SECTION 13
HOLIDAYS
Holidays. The following days shall be considered holidays and

work performed on such days shall be compensated for at the
following rates of pay:

1. At One-and-One-Half Times the Employee's Regular Straight
Time Rate:

New Year's Day Discoverer's Day
President's Day Veteran's Day
Memorial Day Thanksgiving Day
Kamehameha Day Christmas Day

Fourth of July

2. At Three Times the Employee's Regular Straight Time Rate:

Labor Day

Holidays Falling on Saturday or Sunday. In the event any of
the above holidays falls on a Saturday, the preceding Friday
shall be considered the holiday. In the event any of the

above holidays fall on a Sunday, the following Monday shall be
considered the holiday.

"Switching" and/or Substitution of Holidays
l. Whenever any of the holidays listed below falls on a
Tuesday, Wednesday, or Thursday, said holiday may, at the

Contractor's option and discretion, be "switched" to
either Monday or Friday:

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NOTE:

A.

Kamehameha Day
Fourth of July
Thanksgiving Day

The Contractor shall also have the optionf at his/her
discretion, of substituting the day after Thanksgiving as
a holiday in place of Veteran's Day, in which case,
however, said Contractor shall not be able to
simultaneously exercise his/her option of "switching"
Thanksgiving Day to Friday so as to observe two holidays
on the same day.

At the present time, paragraphs 1 and 2, immediately
above, are applicable ONLY to PRIVATE and FEDERAL
projects. The State or Country law HRS.lO4-2 would have
to be changed in order for said paragraphs to be
applicable on State or Country projects. (The contractor
should review the agreement that they' received. when
project was awarded.

The Union, as well as the employees affected, shall be
notified in writing at least five (5) working days prior
to the effective date of any “switch" and/or substitution
of holidays as may be made pursuant to paragraphs 1 and
2, above.

SECTION 14

EMPLOYEE BENEFITS AND CONTRACTOR PAYMENTS

General Provisions

 

Contractor payments to the various Trust and other Funds,
as specified in this Agreement, shall be paid only for
actual hours worked. Time which is paid for but not
worked, such as time paid for under Section 11.H (Wages
on Day of Injury), waiting/standby time as provided under
paragraph E.2 (Show-up Time) of Section 11 {Hours and
Overtime), as well as “driving time hours'l as provided
for under paragraph A.B of Section 17 (Transportation)
shall not be counted as hours worked for purposes of

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making Contractor payments to the various Trust and other
Funds as provided for in this Agreement.

If the Union, the Administrative Office, or any of the
Trust Funds as established under this Agreement chooses
to cover its employees under any cdi the Trust Funds
listed below, its contributions to said fund(s) shall be
made in the same manner and under the same conditions as
set forth in Section 14.1 (Contractor Payments) of this
Agreement, but shall be computed On a monthly basis, as
follows: applicable hourly rate of contribution times
173 hours per month.

Qualifications of Trustees. Any Trustee serving on behalf
of the Union must be a member in good standing. Any
Contractor members selected to serve on behalf of each
Association must be from a contractor signatory to the
Masons' Collective Bargaining Agreement and making
contributions to the Trust Funds.

B. Health and Welfare Fund

 

l.

Each Contractor shall participate in the Hawaii Masons'
Health and Welfare Fund (hereinafter referred to as the
"Health and Welfare Fund") under the terns and conditions
as set forth in the Hawaii Masons' Health and Welfare
Fund Declaration of Trust Agreement as executed December
28, 1977, and as it may be amended in the future.

Effective as of the date(s) listed below, the Contractor
shall contribute to the Health and Welfare Fund for each
hour worked by each employee covered by this Agreement
the following amounts:

Effective September 1, 2008 $6.87 per hour

Effective August 31, 2009 $6.87 per hour
Effective August 30, 2010 $6.87 per hour
Effective August 29, 2011 $6.87 per hour

Effective September 3, 2012 $6.87 per hour
Effective September 2, 2013 $6.87 per hour

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Pension Fund

1. Each Contractor shall participate in the Hawaii Masons1
Pension Fund (hereinafter referred to as the "Pension
Fund") under the terms and conditions as set forth in the
Hawaii Masons‘ Pension Fund Declaration of Trust
Agreement as executed August 31, 1992, and as it may be
amended in the future.

2. Effective as of the dates listed below, the Contractor
shall contribute to the Pension Fund for each hour worked
by each employee covered by this Agreement the following
amounts:

Effective September 1, 2008 $3.50 per hour

Effective August 31, 2009 $3.75 per hour
Effective August 30, 2010 $4.00 per hour
Effective August 29, 2011 $4.00 per hour

Effective September 3, 2012 $4.00 per hour
Effective September 2, 2013 $4.00 per hour

(a) The Union and the Contractor bargaining committee agree
that the contribution specified by the parties in C.2 is
to be considered strictly as the funding arrangement for
pension benefits under the Pension Fund. As such, the
parties intend that all employees covered by this
Agreement are to be credited with benefits under the
Pension Fund based on their hours of work, regardless of
whether or not the Contractor is required to lnake a
contribution to the Pension Fund based on those hours of
work. The parties also agree that this understanding is,
if financially feasible under the Pension Fund and the
Trustees of the Pension Fund so agree, to apply to
employment performed prior to the effective date of this
Agreement.

For Apprentices indentured before September 1, 2003, each
contractor shall contribute to the Pension Fund, the amounts
effective the dates identified in paragraph 2. above, for each
hour worked after the Apprentice has attained one thousand
(l,OOO) hours.

For Apprentices indentured on or after September l, 2003,

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each contractor shall contribute to the Pension Fund the
amount of one dollar ($1.00) an hour effective from the first
hour worked until said Apprentice attains the status of a
Journeyperson.

Annuity Fund

1.

Each Contractor shall participate in the Hawaii Masons' and
Plasterersl Annuity Trust Fund (hereinafter referred to as
the "Annuity Fund") under the terms and conditions as set
forth in the Hawaii Plasterers' Annuity Fund Declaration of
Trust Agreement as executed December 28, 1977, and as it
may amended in the future.

Effective as of the dates listed below, the Contractor
shall contribute to the Annuity Fund on behalf of each
employee covered by this Agreement, the following amounts:

Effective September 1, 2008 $5.05 per hour

Effective August 31, 2009 $5.10 per hour
Effective August 30, 2010 $5.15 per hour
Effective August 29, 2011 - $5.20 per hour

Effective September 3, 2012 $5.25 per hour
Effective September 2, 2013 $5.30 per hour

For Apprentices indentured before September 1, 2003,
each Contractor shall contribute to the Annuity Fund,
the amounts effective the dates identified in paragraph
2. above, for each hour worked after the Apprentice has
attained one thousand (1,000) hours.

For Apprentices indentured on or after Septemberl, 2003
each contractor shall contribute to the Annuity Fund
the amount of fifty cents ($0.50) an hour effective
from the first hour worked until said Apprentice
attains the Status of a Journeyperson.

Vacation and Holiday Fund

 

l.

Each Contractor shall participate in the Hawaii Masons'
Vacation and Holiday Fund (hereinafter referred to as the
"Vacation and Holiday Fund") under the terms and conditions
as set forth in the Hawaii Masons' Vacation

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and Holiday Fund Declaration of Trust Agreement as
executed December 28, 1977, and as it may be amended in
the future.

Effective as of the dates listed below, each Contractor
shall contribute to the Hawaii Masons' Vacation and
Holiday Fund on behalf of each employee covered by this
Agreement the following amounts:

Effective September 1, 2008 $4.75 per hour

Effective August 31, 2009 $5.00 per hour
Effective August 30, 2010 $5.00 per hour
Effective August 29, 2011 $5.00 per hour

Effective September 3, 2012 $5.00 per hour
Effective September 2, 2013 $5.00 per hour

For Apprentices indentured before September 1,2003, each
Contractor shall contribute to the Annuity Fund, the
amounts effective the dates identified in paragraph 2.
above, for each hour worked after the Apprentice has
attained one thousand (1,000) hours.

For Apprentices indentured on or after September 1,
2003, each contractor shall contribute to the Annuity
Fund the amount of two dollars ($2.00) an hour effective
from the first hour worked until said Apprentice
attains the Status of a Journeyperson.

All taxes due from each employee by reason of payments
under this Vacation and Holiday Fund shall be deducted
by each Contractor from each employee‘s wages, and such
tax deductions, together with the amount payable under
this Vacation and Holiday Fund, shall be separately
noted on the employee‘s paycheck.

Vacation and Holiday payments shall be made in
accordance with the rules and procedures as adopted from
time to time by the Trustees of the Vacation and Holiday
Fund.

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F.

Apprenticeship and Training Fund

1.

Each Contractor shall participate in the Hawaii Masons'
and Plasterers' Apprenticeship and Training Trust Fund
(hereinafter referred to as the "Apprenticeship and
Training Fund") under the terms and conditions as set
forth in the Hawaii Masons' Training Fund Declaration of
Trust Agreement as executed December 28, 1977, and as it
may be amended in the future.

Effective as of the dates listed below, the Contractor
shall contribute to the Apprenticeship and Training Fund
for each hour worked by each employee covered by this
Agreement the following amounts:

Effective September 1, 2008 $1.05 per hour

Effective August 31, 2009 $1.05 per hour
Effective August 30, 2010 $1.05 per hour
Effective August 29, 2011 $1.05 per hour

Effective'September 3, 2012 $1.05 per hour
Effective September 2, 2013 $1.05 per hour

For Apprentices indentured before September 1, 2003, each
contractor shall contribute to the Apprenticeship and
Training Fund, the amounts effective the dates identified
in paragraph 2. above, for each hour worked after the
Apprentice has attained one thousand (1,000) hours.

For Apprentices indentured on or after September 1, 2003,
each contractor shall contribute to the Apprenticeship
and Training Fund the amount of fifty cents ($0.50) an
hour effective from the first hour worked until said
Apprentice attains the status of a Journeyperson.

Out of the aforementioned contribution to the
Apprenticeship and Training Fund:

(a) an amount equivalent to $0.01 per~ hour' of the
contribution made on behalf of Masons
(Blocksetters) shall be earmarked for and channeled
to the International Masonry Apprenticeship Trust,
and

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(b) an amount equivalent to $0.01 per hour of the
contribution rnade on. behalf of Cement Finishers
shall be earmarked for and channeled to the
National Joint Trust Fund to Promote Training in
the Cement Masonry, Asphalt, and Composition
Trades.

Research and Development

 

1. Effective as of the dates listed below, the
Contractor shall contribute to the research and
development funds for each hour worked by each
employee covered by this Agreement, the following
amount:

Effective September 1, 2008 $0.25 per hour

Effective August 31, 2009 $0.25 per hour
Effective August 30, 2010 $0.25 per hour
Effective August 29, 2011 $0.25 per hour

Effective September 3, 2012 $0.25 per hour
Effective September 2, 2013 $0.25 per hour

2. Each employee covered by this Agreement, for purposes
Of the research and development funds, includes
apprentices indentured before September 1, 2003.

3. The research and development funds will be under the
control of the Apprenticeship and Training Trustees.

Trust Documents. Each of the Declaration of Trust Agreements
as referred to above are, by reference, incorporated herein
and each Contractor covered hereby or signatory hereto agrees
that he/she shall be bound by all the terms and conditions of
said documents. Each said Contractor further agrees to the
appointment of the Trustees of said Funds as designated by the
Contractor Associations and hereby designates said Contractor
Trustees to serve as his/her representatives and to act as
his/her agent in all matters concerning the Funds.

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Contractor Payments

 

1.

Transmittal of Contributions

 

(a)

(b)

(c)

Contractor contributions to the various Funds as
specified and provided for above shall be paid or
postmarked by the twentieth (20”) day of the month
immediately following the month for which the
contributions are due, but a Contractor shall not
be deemed delinquent if full payment of amounts due
is made or postmarked and mailed by the thirtieth
(30”) day of said month.

A consolidated transmittal and report form as
provided, by' the .Administrative Office, showing,
among other things, the monthly total of hours
worked by each employee covered by this Agreement,
shall be submitted each month and accompany such
payment, if any, even if no employees were employed
by the Contractor.

The consolidated transmittal form must be submitted
or postmarked by the thirtieth (30“) day of the
month. being' reported. even. if no employees were

employed by the Contractor.

Information and Audit. Each Contractor shall provide the
appropriate Trustees or their authorized representative(s)
with information and records necessary to carry out the
purposes of and in connection with the proper administration
of the various Funds and shall permit an audit of the
Contractor's payroll records by authorized representative(s)
of the Administrative Office or the Trustees to ascertain
whether all contributions due have been paid. Every
Contractor shall maintain records in the State of Hawaii
with respect to each of the Contractor's employees covered
by the Collective Bargaining Agreement sufficient to
determine the benefits due or which may become due to such
employees, In the event the audit shows that the
Contractors has sent insufficient payments to the various
funds, the Contractor shall pay the full cost of the audit,
provided the amount of delinquent contribution is more than
$200.00. Should the audit ascertain that proper payment to

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(a)

the various Funds have been made, the various Funds shall
pay full cost of the audit,

Authority of Trustees to Reduce Contributions. The Trustees
of each of the Trust Funds are hereby given authority to and
may at their discretion, temporarily reduce the rate or
amount of contribution to any of said Trust Funds or order a
temporary discontinuance of payments into any of said Trust
Funds if in their judgment an unjustified surplus is being
accumulated in any of said Funds.

Delinquent Contributions and Collections

When any Contractor's contributions to any of the Trust
Funds provided for under this Agreement are not paid or
postmarked and mailed by the thirtieth (30m) day of the
month immediately following the month for which the
contributions are due, such contributions are delinquent and
the Contractor shall be deemed to be in violation of this
Agreement and the aforementioned Trust Agreements. The
Trustees, on behalf of the Trust Fund, are authorized to
bring whatever legal action deemed necessary to recover
delinquent Trust Fund contributions, liquidated damages, and
interest, including but not limited to the institution of
any action against a Contractor, surety, or co-obliger to
recover monies owed by the delinquent Contractor to the
Trust Funds and to the assertion, perfectionL and
foreclosure of any lien rising from the providing of labor
by employees of the delinquent Contractor. A Contractor
responsible for such delinquent contributions shall pay to
each respective Fund:

(i) the unpaid contributions,

(ii) interest on the unpaid contributions at the
rate of twelve percent (12%) per annum or the
rate prescribed under Section 6621 of the
Internal Revenue Code of 1954, whichever is
greater, provided, however, that should such
delinquent Trust Fund contributions be paid
in a timely fashion as provided for herein,
no interest shall be charged; interest shall
be computed from the first (1“) day following

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(b)

the month for which Trust Fund contributions are
owed,

(iii) an amount equal to the greater of:

(a) interest on the unpaid contributions,
or

(b) liquidated damages on the amount of
ten percent (10%) of such delinquent
and unpaid contributions due to each
respective Fund or twenty dollars
($20.00), whichever is greater, for
each and every delinquent monthly
contribution,

(iv) all audit and collection costs, and

(v) if delinquency is turned over to an attorney for
collection, reasonable attorney‘s fees and costs
of the action as provided for by the Employee
Retirement Income Security .Act, as amended,
together with all other reasonable expenses
incurred in connection with such suit or claim,
including any appellate proceedings therein.

The amount specified in subsection (iii) (b) above
shall be due and payable to each respective Fund upon
the day immediately' following the date such
contribution becomes delinquent and shall be in
addition to the total amount of the delinquent
contributions. Said amount is payable as and for
liquidated damages, and not as a penalty, in that the
failure of the Contractor to make the required timely
payment of contributions imposes additional burden and
expenses upon the Trustees in the collection thereof;
in the administration of the Trust Funds, including
but not limited to the processing of late contribution
reports, correspondence, and other communication with
said Contractor; and, in addition thereto, may

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cause a loss of benefits to employees, and loss of
benefit of the use of the amounts required to be paid,
all of which are difficult to accurately ascertain.

Notice to Employees of Employer's Failure to Make
Contributions on their Behalf (Exhibit “K") Under
Section 14.1.4. On the 15th day of the month immediately
following the month for which contributions are due,

a notice will be sent to all employees informing them of
the failure of the employer to make the contribution on
their behalf.

Weekly Reports and Payments by Delinquent Contractor.
Any other provision to the contrary notwithstanding, a
Contractor who is responsible for delinquent
contributions may be required by the Trustees of the
various Funds to make and submit weekly detailed reports
and payments for current contributions no later than the
Friday immediately following the end of each and every
week until such time as all delinquent accounts due and
payable to each of the respective Funds are brought
current. In the event Friday falls on any holiday on
which local banks will be closed, the report and payments
shall be made and submitted by Thursday of that week.

Bond or Cash-in-Escrow by Delinquent Contractor. If
the delinquent contributions, liquidated damages,
interest, attorney‘s fees, and costs due to any
respective Fund are not paid within thirty (30)
calendar days after the due date, the delinquent
Contractor, to secure_the payment of future
contributions, may be required to post with the
Trustees of each respective Fund within five (5)
working days thereafter and for a period of up to one
(1) year the date of delinquency a surety bond or cash-
in-escrow in an amount equal to the last three (3)
months‘ contributions or five thousand dollars
($5,000.00), whichever is greater,

Application/Non-Application of Section 21 (Grievance
Procedure and Arbitration). All matters involving the

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payment, collection, and enforcement of Contractor
contributions, liquidated damages, and/or interest due to
the various Funds provided for in this Agreement shall be
handled by and in the manner prescribed by the Trustees of
the various Funds in accordance with the Trust documents
establishing said Funds and shall not be subject to the
provisions of Section 21 (Grievance Procedure and
Arbitration); provided, however, that any questions relating
thereto as may arise pursuant to a Union action under
Section 7.C (No Strike Or Lockout) of this Agreement and any
questions relating to whether a particular person or group
of persons are employees as defined under Section 2
(Coverage) of this Agreement for whom contributions are due
shall be subject to the provisions of Section 21 (Grievance
Procedure and Arbitration).

Relationship to Section 7.C. (No Strike Or Lockout).
Nothing in Section 14 shall be construed as being in
conflict with the provisions of Section 7.C of this
Agreement, nor shall anything in Section 14 be deemed a
condition precedent to any action that the Union may take
under the provisions of Section 7.C.

A charge of a violation of this Article may be filed by the
Union and/or the Trustees of any of the Joint Trust Funds
provided for in this Agreement, and shall be considered as a
dispute under this Agreement and shall be processed in
accordance with the procedures for the handling of
grievances and the final binding resolution of disputes as
provided in Section 21 of this Agreement. As a remedy for
violations of this Article, the arbitrator (or arbitration
body) provided for in Section 21.B 4 is empowered, at the
request of the Union and/or the trustees of the joint trust
funds, to require an employer to:

(a) pay to affected employees covered by this Agreement,
including registered applicants for employment, the
equivalent of wages lost by such employees as result
to the violations, and

(b) pay into the affected contributory funds established
under this Agreement or any applicable local
agreement, any delinquent contributions to such
funds, which have resulted from the violations.
Provisions of this remedy herein does not make such

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11.

(c) remedy the exclusive remedy available to the Union
and/or the fund trustees for violation of this
Section, nor does it make the same for other
remedies unavailable to the Union and/or the fund
trustees for violation of other sections of this
agreement.

If, as a result of violations of this Article, it is

necessary for the Union and/or the trustees of the joint
trust funds to institute court action to enforce an award
rendered in accordance with the above subsections, or to
defend an action which seeks to vacate such award, the
Employer shall pay any accountants' and attorneys' fees
incurred by the Union and/or fund trustees, plus costs of

the

litigation, which have resulted from the bringing of

such court action,

SECTION 15

OTHER FUNDS

Masonry Construction Industry Improvement Program

 

Each Contractor covered hereby shall contribute

the

applicable amount per hour to the Masonry

Construction Industry Improvement Program for each
employee covered by this Agreement. Said payments
shall be made in the same manner as set forth in
Section 14.H (Contractor Payments) of this
Agreement.

In Accordance with the documents establishing said
Program, said Funds and Program shall be under the
general control of a Governing Board composed of
representatives appointed by the Mason Contractors
Association of Hawaii. Each Contractor covered
hereby or signatory hereto agrees to the appointment
as his/her representatives, of the members of said
Governing Board, as well as the Trustees and/or
Directors as appointed by the Association with
respect to those funds, and hereby designates said
Governing Board and said Trustees and/or Directors
To act as his/her agent in all matters concerning
the Fund.

Said funds shall be used for purposes, programs, and

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B.

staffing in matters and areas which are designed to
improve the construction industry such as construction
education, market development and improvement, safety,
pollution control, public relations, research, and the
like. It is specifically understood and agreed that
the said funds shall not be used to promote or encou-
rage open shop (Non-Union) construction.

The above is a management add-on item (that is, it was
added by the management after settlement of the wage
and benefit “package” as contained in this Agreement).
It therefore does not in any way constitute a
deduction from or loss to any employee covered by this
Agreement. In that light, the Associations acting in
concert shall have the right at any time and at their
discretion to increase or decrease the rate of contri-
bution to the Fund or to discontinue said Fund; and
upon notice to the Union of any such action, the
provisions of this Section 15.A shall be deemed as
automatically amended (or deleted, as the case may be)
from this Agreement.

Administrative Fee Covering the Negotiations and
Administration of the Collective Bargaining Agreement

 

1. In order that the various provisions of this
Agreement may be properly interpreted and
administered and grievances relating thereto may
be processed in an expeditious manner, and in order
that management participation in and monitoring of
the Employee Benefit Trust Fund as provided under
Section 14 of this Agreement (namely: Health and
Welfare Fund, Pension Fund, Apprenticeship and
Training Fund, Vacation and Holiday Fund, and

Annuity Fund) may be economically, competently, and
Centrally coordinated, each Contractor signatory to
this Agreement shall, effective as of September 1,
1997, pay to the Masonry Construction Industry
Improvement Program for the Mason Contractors Labor

Association of Hawaii for the negotiation and

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Administration of the Agreement on his/her behalf
the applicable fee per hour for all hours worked by
employees covered by this agreement.

It is specifically understood and agreed that funds
generated from the above fee shall not be used to promote
or encourage open shop (Non-Union) construction.

Each Association shall have the right at any time and at
Its discretion to increase or decrease the cents per hour
amount of said fee or to discontinue said fee; and upon
notice to the Union or any such action, the provisions of
this Section 15.B shall be deemed as automatically amended
(or deleted as the case may be) from this Agreement.
Effective January 4, 1988 these two funds (A & B) will be
combined at a rate of $0.08 per hour,

Hawaii Masonry Promotion Institute Trust

1. Effective as of the dates listed below, each Contractor
shall contribute to the Masonry Promotion Institute
Trust for each hour worked by each employee covered by
this Agreement, the following amounts:

Effective September 1, 2008 $0.15 per hour

2. Out of the aforementioned contributions to the Hawaii
Masonry Promotion Institute Trust, an amount as
determined by the Trustees of the Hawaii Masonry
Promotion Institute Trust shall be earmarked for and
Channeled to the National Masonry Industry Promotion
Fund.

3. In accordance with documents establishing the Hawaii
Masonry Promotion Institute Trust, sand Funds and
Programs shall be administered by the Trustees as
appointed by the designated Associations. Each
Contractor covered hereby or signatory hereto agrees
to the appointment, as his/her representatives, of the

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Trustees of said Program ad designated by said
Association and hereby designates said Trustees to act
as his/her agent in all matters concerning the Fund.

SECTION 15

MISCELLANEOUS WORKING RULES

 

Ratio of Journeyperson to Foreperson/Working Foreperson. On
all jobs requiring five (5) or more Journeyperson Masons
and/or Cement Finishers and/or their Apprentices, one of the
Journeyperson shall be a Foreperson or Working Foreperson. A
Working Foreperson shall not supervise more than nine other
Journeyperson Masons and/or Cement Finishers and/or their

Apprentices. There shall be no other limitations or
restrictions placed on the number of persons assigned to any
crew or to any service. The selection of Foreperson and

Working Foreperson shall be entirely the responsibility of the
Contractor.

Drinking Water. An adequate supply of fresh water cooled by
ice shall be available to employees at convenient locations on
all job sites at the start of each work day, but in no event
any later than one-half (1/2) hour after the start of the
shift. When water is supplied in containers, said containers
shall be clean and the Contractor shall furnish paper cups or
have an OSHA-approved type of drinking fountain with rim guard
to prevent the possible spread of disease.

Tools

1. Attached hereto and made a part hereof as Exhibit "A-Z"
is a list of tools which. employees covered. by' this
Agreement are required to provide themselves; and an
employee who does not have the proper tools on hand for
the work being done shall be subject to discipline,
including discharge.

2. All other tools and their accessories as may be required

by the Contractor shall be supplied by the Contractor.
Said Contractor-supplied tools shall be checked out to

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individual employees who shall sign for and be held
accountable for their return. Wage deduction forms
signed at the time the tools are issued shall be used to
collect the cost of such tools not returned at the time
of termination. Tools that are signed for by an employee
and which are stolen shall be replaced by the Contractor
provided such theft is promptly reported to the
Contractor.

3. On neighbor islands but not on oahu, the Contractor shall
provide on each job site a reasonably safe place where
his/her employees may keep their tools. If all or part of
an employee's kit of working tools is lost by reason of
fire or theft involving forcible entry while in the
Contractor's care, the Contractor shall replace those
tools that were so lost. The employee shall suffer no
loss of pay for the time that said replaced tools are
being secured for him/her, it being understood that the
employee shall immediately report the loss to the

 

Contractor.
D. Safety and Protective Devices
1. Except for construction hard hats and footwear, which

each employee shall secure on his/her own as part of the
tools of his/her trade, the Contractor shall furnish all
other safety and protective equipment as may be required
by applicable State or Federal safety regulations for the
work being performed.

2. Where a special type or color of hard hat is required
either by State or Federal safety regulations or by the
Contractor, then said special type or color of hard hat
shall be supplied by the Contractor.

3. Each employee covered. hereby shall use the jprovided
health and safety equipment. Employeesl proper use of
safety and health equipment issued by the Contractor
shall be mandatory, and failure to do so will be cause
for disciplinary action (including discharge}.

4. Employees shall use and shall properly care for and
maintain such safety and health equipment as is issued or

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assigned, to then\ and. they' shall return same to the
Contractor upon completion of its use.

Safety and health equipment which is new or has
previously been issued to any employee and returned to
the Contractor shall be inspected. by the Contractor -
and/or a representative of said Contractor prior to its
reissuance to another employee to insure the integrity of
said equipment.

When respirators are used, the Contractor shall provide
an adequate supply of proper replacement filters on hand
at the job site at which such respirators shall be used,
and said Contractor shall sanitize respirators prior to
their reissuance to another employee.

The Contractor shall conduct safety meetings a minimum of
once a month, and safety' meetings the day after a
fatality, for all employees covered hereunder and may be
attended by a representative of the Union. Such
mandatory meetings will be conducted on paid time.
Attendance at such meetings is mandatory, and employees
who do not attend may be subject to disciplinary action.

The Contractor agrees to provide and maintain safe
working conditions for each employee covered hereby in
accordance with Federal and State safety and health laws
and regulations.

Employees shall perform their duties in such a manner as
to promote safe and efficient operation of each
particular duty and of any job as a whole.

In cases involving severe accidents, which required an
ambulance or hospitalization, the Contractor shall notify
the Union as soon as possible, but no later than one (1)
working day (Monday through Friday) after the accident
occurred,

A copy of any accident report(s) required by the State of
Hawaii or‘ Federal government to be completed. by the
Contractor shall be made available by the Contractor to
the Union upon request by the Union.

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12.

13.

14.

15.

As required by the State of Hawaii‘s Occupational Safety
and Health Standards, the Contractor shall provide and
maintain adequate first aid equipment on each job. The
Contractor shall also arrange for adequate and prompt
medical attention in case of injury. This may' be
accomplished_ by (a) on-the-job facilities or proper
equipment for prompt transportation of injured employees
to a physician, or (b) a communication system for
contacting a doctor or ambulance or a combination of
these that will avoid unnecessary delay in treatment.

As required under the State of Hawaii's Occupational
Safety' and. Health. Standards, suitable, adequate, and
sanitary toilet facilities shall be provided on all jobs.
The facilities shall be serviced and maintained on a
regular basis and shall be located in a readily
accessible area, which should not interfere with active
project operations.

No employee shall be required to perform job site work
after sunset or before sunrise unless the employee is
accompanied by another individual.

Employees shall not be required to operate or to work
with or about equipment, which has been found unsafe by
an authorized. representative of the State of Hawaii
Division of Occupational Safety and Health.

Clean-Up Time. An employee shall be allowed not less than

five

(5) minutes nor more than ten (10) minutes for tool

clean-up prior to quitting time.

No Piece Work, Contract Work, or Moonlighting

 

No Piece Work or Contract Work

 

(a) No employee shall perfornl work covered. by this
Agreement on a "piece work" or contract basis, nor
shall any employee perform work within the
jurisdiction of this Agreement except as an
employee of the Contractor.

{b) No Contractor shall allow any employee to perform
work covered by this Agreement on a “piece work" or
contract basis, nor shall any Contractor allow an

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employee to perform work within the jurisdiction of
this Agreement except as an employee covered by this
Agreement.

2. No Moonlighting

(a) No employee covered by this Agreement shall do any
moonlighting of work covered by this Agreement.

(b) No Contractor shall allow any moonlighting of work to
be done for him/her.

(c) For purposes of this paragraph, "moonlighting" shall
be defined as an employee performing work covered by
this Agreement, with or without compensation, after
hours, on weekends or holidays, or during periods of
vacation for someone other than the Contractor by whom
he/she is employed, without the specific knowledge and
approval of said Contractor and the Union.

3. Contractor Notification

 

Any Employer who schedules work, on any project, for a
Saturday, Sunday, or holiday, must register such intent with
the Union no later than the Friday before the scheduled
work, listing the name and location of the project to be
worked along with the list of employees who will be working.

If the employer requires employees other than his/her own
regular employee, then Referral and Hiring procedures
Section 26.C 7 (b) (if Union Referral Office`Does Not Fill
Contractor's Request Within 48 Hours) must be complied with
before using "Loaned" employees from another employer. When
using loaned employees an Exhibit "B-2 and/or B-3"
Notification of Loaned Employees must be filed at the same
time.

4. Violations of this Subsection

(a) In the event it is alleged that an employee covered by
this Agreement or that a Contractor signatory to this
Agreement has violated paragraphs 1 and/or 2 above,
said allegation shall be processed as an Expedited
Grievance to the Joint Industry Committee.

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If the Joint Industry Committee determines that a
violation has in fact occurred, the violator shall
be fined as follows:

 

First Offense ..................... $ 500
Second Offense .................... $1,000
Third Offense and Thereafter ...... $1,500

 

(b) In addition to the above fine, an employee violator
may under the provisions of Section 8 (Discipline or
Discharge) of this Agreement also be subject to
disciplinary action, including discharge, by the
Contractor for whom he/she is working.

SECTION 17
TRANSPORTATION

A. Transportation (Applicable to all lslands in the State of
Hawaii

 

1. An employee covered by this Agreement shall report to work
at his/her scheduled starting time (either the Contractor's
shop, permanent yard, or the job site as scheduled by and
at the Contractor‘s option) and shall be ready to begin
work at his/her scheduled starting time.

2. At the sole discretion of the Contractor, for the
purpose of operational efficiency, the Contractor may
provide suitable transportation at the Contractor's
shop/permanent yard of other central convenient pickup
points enroute to the job site, and back to the pickup
points, to those employees who wish to utilize it.

Such transportation will depart in sufficient time to
permit arrival at the job site in time for employees to
start work at their scheduled starting time.

3 Time traveled from the Contractor‘s shop/permanent
yard/pick-up points to the job site, and back to
the pickup points shall not be considered as time
worked and shall not be included as part of the eight
(8) hour Workday, except for the driver.

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Transportation from the job site back to the Contractor's
shop/permanent yard/pick-up points shall also be furnished
by the Contractor to those employees who wish to avail
themselves of it. Time traveled. in :returning to the
Contractor's shop/permanent yard/pick-up points shall not
be considered as time worked, nor shall it be included as
part of the eight (8)hour workday, except for the driver.

Time spent outside of his/her regularly scheduled eight-
hour workday by the driver of the Contractor's trucks
and/or other vehicles used in providing the aforementioned
transportation from the Contractor's shop/permanent
yard/pick-up points to the job site and from the job site
back to the Contractor's shop/permanent yard/pick-up points
shall be paid for at said driver's applicable rate of pay.

Such "driving time", however, shall not be considered as
hours' worked for purposes of making Contractor
contributions to the 'various Trust and. other' Funds as
provided for in this Agreement.

Employees who wish to avail themselves of the
aforementioned transportation shall so notify the
Contractor in sufficient time for said Contractor to make
the necessary arrangements.

Bad Road Transportation. At or within a job project
Where the access road to where the work is to be
performed is unsuitable and no parking facilities

are provided within a five (5) minute walk to said
work area, the Contractor shall transport the employee
from the parking area to and from the work is being
performed.

If the Contractor does not make transportation available to
and from a job site pursuant to the provisions of Section
17.A (Transportation) and there is no free parking
available within two thousand (2,000) feet of said job
site, then the Contractor shall reimburse, at the lowest
parking rate within said two thousand (2,000) foot area, an
employee who drives his/her own carpooled

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vehicle to the job site. To be eligible for reimbursement,
said “carpool” must consist of said drive plus at least two
(2) or more other enployees of the Contractor who are

employed on the same project. Where there are less than
two (2) other employees of the Contractor who are employed
on the same project. Where there is less than two (2)

other employees of the Contractor employed on said project,
the “three-man-carpool rule” shall be correspondingly
modified to coincide with that lesser number.

C. Parking Expenses

1. If there is no free parking available within two
thousand (2,000) feet of said job site, then the
Contractor shall reimburse employees at the lowest
parking rate available within said two thousand
(2,000) feet area, provided that the employee presents
a signed and dated receipt for each parking
expenditure. The Contractor may, however, at his/her
option, furnish transportation from a designated
parking area where parking is free to and from the job
site, rather than reimburse the employees for such
parking expenditure.

2. In the event receipts are not available for parking
Expenses, the Union and the Contractor shall meet
prior to the commencement of the project to work
out alternative, mutually agreed upon provisions to
take care of parking expenses. lt was also agreed
that suitable parking means that employees should
have appropriate ingress and egress from such
parking when completing work.

SECTION 18

SUBSISTENCE AND TRAVEL
(Neighbor Island Work)

 

Subsistence and Travel

1. Where an employee is required by the Contractor to leave

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the island on which he/she resides to report to work on a
neighbor island project, the Contractor shall provide
transportation to and from said island.

Employees shall be reimbursed for travel expenses as
approved by the Contractor, which are incidental to the
trip.

While traveling to and from said island on a regular
workday, the employee will receive his/her regular
straight time rate of pay not to exceed eight (8) hours
in any one twenty-four (24) hour period, including time
worked. If work is not provided for the employee at the
time of his/her arrival at his/her destination, he/she
shall nevertheless be paid eight (8) straight time hours.

If required by the Contractor to travel to and from said
island on a non-work day, the employee shall receive a
minimum of two (2) hours' pay at one and one-half (1-1/2)
times his/her regular straight time rate.

Transportation of any personal baggage (exclusive of
tools required by the Contractor) in excess of the weight
and size that is included in the normal fare shall be
paid for by the employee, unless he/she receives
expressed permission from the Contractor to take excess
baggage.

If the employee is required to remain on the neighbor
island for one (1) calendar week or less, the Contractor
shall make arrangements to provide for meals and lodging
of good quality (no more than two (2)`persons to a room*)
at facilities designated by the Contractor. The employee
may, however, request to receive either a meal allowance
or subsistence allowance in the same manner as specified
in paragraphs 7(b) and 7(c), below, in lieu of the
arrangements offered by the Contractor. If an employee
wishes to exercise this option, the employee must
indicate his/her choice at the time he/she is notified of
neighbor island travel and must sign an appropriate form,
The determination of whether to provide meals and lodging
or the applicable allowance rests with the Contractor.

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*NOTE:

.'Lf the employee is required to remain on the neighbor
island for more than one (1) calendar week, the
Contractor shall be required to provide either:

(a) meals and lodging of good quality (no more than two
persons per room*), OR

(b) lodging of good quality (no more than two persons
per room*) plus pay a per diem meal allowance in
the following amount:

09/01/08 - $34.00
08/31/09 - $35.00
08/30/10 - $36.00
08/29/11 - $37.00
09/03/12 - $38.00
09/02/13 - $39.00
(c) Or, pay a subsistence allowance in the following
Amount:
09/01/08 - $62.00
08/31/09 - $64.00
08/30/10 - $66.00
08/29/11 - S68.00
09/03/12 - $70.00
09/02!13 - $72.00

(d} In the event the contractor requires only one (1)
Employee to travel to a neighbor island. for more
than one (1) calendar week, the Contractor shall
make arrangements for provide for meals and
lodging of good quality.

The term “room“ as used in paragraph 7(a) and '7(b) above
shall NOT include the living room, but shall include an
enclosed den which may be used by one (1) employee
provided it affords the same degree of privacy as a
bedroom.

Except as provided in paragraph 9 immediately below, the
employee may request to receive a subsistence allowance
as specified in paragraph 7(c) above in lieu of meals and

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lodging to be provided by the Contractor. If an employee
wishes to exercise this option, the employee must give the
Contractor advance written notice.

Where a camp set-up, which meets County and State
Department of Health standards, is being made available,
the employee must utilize those facilities. If the
employee does not, he/she shall not be entitled to any meal
allowance or subsistence allowance. A Camp Committee shall
be established with representatives from each trade to set
up camp rules and to coordinate recreational and/or other
activities.

Meals and lodging or the applicable allowance, as the case
may be, shall be provided for seven (7) days a week; The
Contractor will ensure that payment is made in a timely
manner to guarantee that the individual will not be
required to make out of pocket payments; provided, however,
that the employee who is absent from work without the
approval of the Contractor shall pay the applicable
subsistence allowance as specified above for the cost of
meals and lodging or shall have the applicable allowance
deducted from his/her meal allowance pay, as the case may
be, for each day of absence.

Meals and lodging or the applicable allowance, as the case
may be, shall automatically cease in the event the employee
refuses to work, or is suspended or discharged for cause
prior to the completion of the work project. If an employee
is suspended or discharged for cause (including failure to
pay Union dues), the Contractor will not pay or reimburse
the employee for his/her return transportation, and for the
travel time. Unless determined under the Grievance
Procedure to have been. a "constructive discharge," an
employee who quits or otherwise refuses to work shall pay
his/her own return transportation and shall also not be
paid for return travel time.

In the event of death or serious illness or injury

involving an employee's immediate family (spouse, child,
brother, sister, parents, mother-in-law, or father-in-

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law), the Contractor shall pay for the cost of an
employee's return transportation to his/her home island.

In the event an employee is injured or becomes ill and a
duly-licensed' medical physician certifies that said
employee's condition requires that he/she be returned to
hisXher home island. the Contractor shall pay for the cost
of said return 'transportation. This shall not apply,
however, to an employee whose injury or illness is caused
by his/her own misconduct while off duty.

This subsection shall not apply to bona fide residents of
the island on which the work is being performed.

Airport parking expense when traveling off-island for
short-term work Contractor to pay travel to and from
island for parking at the airport.

Application of Subsistence to Bona Fide Residents of Neighbor
Islands who are Required by the Contractor to Live Away from
Home on the Same leland

 

When an employee who is a bona fide resident of any
neighbor island is required by the Contractor to live away
from home elsewhere on the same island for one (1) calendar
week or less, the Contractor shall make arrange- ments to
provide for meals and lodging of good quality (no more than
two(2) persons to a room*) at facilities designated by the
Contractor. The employee may, however, request to receive
either a meal allowance or subsistence allowance in the
same manner as specified in paragraphs 7fb) and 7(c),
above, in lieu of the arrangements offered by the
Contractor. If an employee wishes to exercise this option,
the employee must indicate his/her choice at the time
he/she is notified of the travel requirements and must sign
an appropriate form. The determination of whether to
provide meals and lodging or the applicable allowance rests
with the Contractor.

If an employee who is a bona fide resident of any neighbor

island is required by the Contractor to live away from home
elsewhere on the same island for more than

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*NOTE:

one (1)calendar week, the Contractor shall be required to
provide either;

(a) meals and lodging of good quality (no more than two
persons per room*), OR

(b) lodging of good quality (no more than two (2)
persons per room*) plus pay a meal allowance in the
same amount as specified in paragraph 7(b) above,
OR

(c) pay a subsistence allowance in the same manner as
Specified in paragraph 7 (C), above,

(d) In the event the contractor requires only one (l)
employee to live away from home elsewhere on the
same Island for more than one (1) calendar week, in
consideration of the additional housing expenses a
lone employee must absorb, the above allowance
shall be increased to forty-nine dollars and fifty
cents ($49.50) per day effective September 1, 2003
and fifty-two dollars and ‘fifty cents ($52.50)
Effective August 30, 2004. If later, another
employee or employees join the original employee
then the normal allowance of forty-seven dollars
and fifty cents ($47.50) shall be applicable to all
employees. Additionally, if, as the job winds
down, only one (1) employee remains then that lone
employee will receive the forty-nine dollars and
fifty cents ($49.50) allowance per day effective
September l, 2003 and fifty-two dollars and fifty
cents ($52.50) effective August 30, 2004.

The term "room" as used in paragraphs 2(a) and 2(b) above
shall NOT include the living room, but shall include an
enclosed den which may be used by one employee provided
it affords the same degree of privacy as a bedroom.

Except as provided in paragraph 4 immediately below, the
employee may request to receive a subsistence allowance
as specified in paragraph 7(c) above in lieu of meals
and lodging to be provided by the Contractor. If an
employee wishes to exercise this option, the employee
must give the Contractor advance written notice.

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Where a camp set-up, which meets County and State
Department of Health standards, is being made available,

the employee must utilize those facilities. If the
employee does not, he/she shall not be entitled to any
meal allowance or subsistence allowance. A Camp

Committee shall be established with representatives from
each trade to set up camp rules and to coordinate
recreational and/or other activities.

Such meals and lodging or applicable per diem allowance,
as the case may be, shall be provided for five (5) days a
week, provided, however, that where said employee is
required by the Contractor who work a six (6) or seven
(7) day workweek, said employee shall receive meals and
lodging or the applicable allowance, as the case may be,
for said six (6) or seven (7) days. Where the work is
scheduled by the Contractor on the basis of four (4) nine
(9) hour days (Monday through Thursday) plus four (4)
hours on Friday, then meals and lodging or the applicable
allowance, as the case may be, shall be provided for four
(4) days (Monday through Thursday) plus fifty percent
(50%) of the meal allowance amount specified in paragraph
A.7.(b) above, to cover the employee's breakfast and
lunch on Friday.

If the employee requires transportation in returning to
and from home for the weekend, the Contractor shall
provide or arrange for said transportation.

An employee who absents himself/herself from work without
the approval of the Contractor shall have the applicable
allowance deducted from his/her meal allowance pay or
subsistence allowance pay, as the case may be, for each
day of absence.

Such meals and lodging or the applicable allowance, as
the case may be, shall automatically cease in the event
the employee quits, refuses to work, or is suspended or
discharged from cause prior to the completion of the work
project.

SECTION 19

ACCESS TO COMPANY PREMISES

 

The Business Representative of the Union shall have access to the
Contractor's job sites for purposes of investigating grievances
that have arisen and ascertaining whether or not this Agreement is
being observed. Such representatives shall make every reasonable
effort to advise the jproject superintendent or his authorized
representative of his/her presence on the project. Such visits
shall be exercised reasonably and shall not interfere with the
conduct of the Contractor's operations or cause employees to
neglect their work.

SECTION 20

UNION STEWARD

A. For any given project of the Contractor, the Union may select
from amongst the employees on said project a Union Steward who
shall be given reasonable time during regular working hours to
contact employees covered by this Agreement who_are employed
on said project; provided, however, that time spent on steward
activities shall be exercised reasonably and shall not
interfere with the conduct of the Contractor's operations or
cause employees to neglect their work.

E. The Union shall give written notice to the Contractor the name
of the Union Steward.

C. Said Union Steward shall be allowed to attend and participate
in grievance meetings held on the project on which he/she is
working, and he/she shall suffer no loss of pay as a result of
such participation.

D. It is specifically understood that said Steward shall not

under any circumstances leave the project to which he/she has
been assigned in order to perform his/her steward duties.

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The Contractor shall not discharge or discriminate against
said Union Steward or any other employee for presenting a
grievance or giving evidence with respect to an alleged
violation of this Agreement. When the Union Steward or any
other employee alleges a violation of this Agreement, the
complaint will be processed as provided for under Section 22
{Grievance Procedure and Arbitration).

In the event the Union Steward is to be laid off for lack of

work, the Contractor shall notify the Union at least one (1)
working day before the layoff is to be made.

SECTION 21

GRIEVANCE PROCEDURE AND ARBITRATION

 

General Provisions

 

1. The term "grievance" as used in this Agreement shall mean:

(a) a complaint filed by the Union or by any employee
covered by this Agreement alleging a violation of a
specific provision of this Agreement, and

(b) a complaint filed by any Contractor or by the
Association (for itself or on behalf of any
Contractor) alleging a violation of Section 7 (No
Strike or Lockout) or a refusal by the Union to
refer employees to the Contractor in accordance
with the provisions of Section 25.C (Referral and
Hiring Procedure).

2. Except for grievances which are subject to an Expedited
Hearing (as provided for under paragraph C below),
grievances shall be presented to the Contractor (or to
the Union, as the case may be) allegedly at fault within
twenty (20) working days after the alleged violation
occurred or first became known to the grieving party;
provided, however, that in cases of discharge, the

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grievance shall be submitted within ten (10) working days
of the discharge. Failure to so present the grievance
shall be deemed as a waiver of remedy.

If, however, the grievance involves nonpayment or partial
payment of wages and/or nonpayment or partial payment of
amounts due under Section 18 (Subsistence and Travel) and
such nonpayment or partial payment was not raised as a
grievance by reason of the promise of the Contractor to
make full payment at a later date but which promise was
not fulfilled, then said grievance shall be recognized.

By mutual agreement of the parties, any step in the
grievance procedure as hereinafter provided may be waived
and/or any of the time limits within any step may be
extended. Any such waiver and/or extension shall be
confirmed in writing.

Pertinent and relevant information in the possession of
any party to the grievance which is needed by the other
party to investigate and process a grievance shall be
accessible to the requesting jparty' within. three (3)
working days of the request for such information.

Grievance Procedure. Except for grievance which are subject

 

to an Expedited Hearing (as provided for in paragraph C,
below), the complainant shall follow the procedure hereinafter
set forth in submitting the grievance and having it
investigated and the merits thereof determined.

l.

First Step (Job Site Supervisor). .A grievance shall
first be presented to the Job Site Supervisor who has
authority to review and adjust grievances.

Second Step (Contractor's President/General Manager or
his/her Authorized Representative). If the matter is not
settled through informal discussion between said
Supervisor and the Union within three (3) working days
after presentation to said Supervisor, the complainant,
if he/she or it wishes to pursue the grievance further,
shall submit it to the Contractor's President/General
Manager or his/her authorized representative. Such

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submittal must be made in writing no later than five (5)
working days after expiration of the initial three (3)
working day period as specified above. Such written
submittal shall specify the nature of the grievance, the
specific Section(s) or provisions(s) of the Agreement
allegedly violated, and the remedy being sought. A copy
of said submittal shall be sent to the Mason Contractors
Association of Hawaii.

Third Step (Joint Industry Committee)

(a) If the matter is not settled through informal
discussion between the Union and the Contractor's
President/General Manager (or his/her authorized
representative) within five (5) working days after
receipt by said President/General Manager (or
his/her authorized representative) of the
aforementioned written presentation, the
complainant, if he/she or it wishes to pursue the
matter further, shall submit the grievance, as
previously set forth in writing, to the Joint
Industry Committee. Such submittal to the Joint
Industry Committee must be made no later than five
(5) working days after expiration of the five (5)
working day period as specified above in which the
Contractor's President/General Manager (or his/her
authorized representative) has to review the
grievance.

(b) The Joint Industry Committee shall convene within
seven (7) working days after it receives the
written submission of a grievance. '

(c) In the event a member of the Joint Industry
Committee (or his/her company) is a party to the
grievance, he/she shall be replaced by an
alternate.

(d) The Joint Industry Committee shall have three (3)
working days from the date it convenes to arrive at
a decision. Any decision made by the Joint
Industry Committee shall be reduced to writing and
a copy thereof shall be transmitted to each of the

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parties involved. Any such decision shall be final
and binding upon all parties and there shall be no
right of appeal to that decision.

If, however, the Committee is unable to arrive at a
majority decision within three CB) working days
from the date it convenes, then the complainant, if
he/she or it wishes to pursue the grievance
further, shall submit the grievance to arbitration
as hereinafter provided. Notification of intent to
present the grievance to arbitration must be made
in writing within five (5) working days after
receipt of the Joint Industry Committee‘s report
that it is unable to render a decision.

4. Fourth Step (Arbitration)

 

(a)

(b)

Within three (3) working days of receipt of the
aforementioned written notification of intent to
arbitrate, an authorized representative of the
Association and an authorized representative of the
Union shall confer to mutually select an
arbitrator. If the aforementioned representatives
of the Union and the Associatmma are unable to
mutually agree on the name of an arbitrator within
the aforementioned. three (3)working day' period,
then the arbitrator shall be selected from amongst
the following five (5)people: Ted Tsukiyama,
Tamotsu Tanaka, Michael Nauyokas, Edward Parnell
and Louis Chang. From that list, one (1) arbitrator
shall be chosen as follows: the Union. and the
Association shall each strike two (2) names from
said list, each striking alternately, the first to
strike to be determined by lot. The arbitrator
whose name remains shall serve in the case,

All decisions of the arbitrator shall be limited
expressly' to the terms and provisions of this
Agreement, and in no event may the terms and
provisions of this Agreement be altered, amended,
or modified by the arbitratorz The arbitrator
shall receive for his/her services such
remuneration as, from time to time, shall be
acceptable to him/her and agreed upon by the

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parties. All decisions of the arbitrator shall be
in writing, and a copy thereof shall be submitted
to each of the parties hereto. All fees and
expenses of the arbitrator shall be borne equally
by the Union and the Contractor. Each party shall
bear the expenses of the presentation of its own
case.

(c) All decisions of the arbitrator under this Section
shall be final and binding upon the parties.

(d) The retroactive application of any remedy of the
arbitration shall be limited to twenty (20) working
days from the time the Contractor had notice of the
grievance; provided, however, that ill grievances
involving the situation mentioned in paragraph A.3
above, the arbitrator is empowered to grant full
restitution of unpaid amounts, subject, of course,
to the applicable State of Hawaii Statute of
Limitations. In cases involving suspensions or
discharge, if the arbitrator finds that a discharge
or suspension was not for just cause, such
discharge or suspension may be set aside, reduced,
or otherwise changed. The arbitrator may, at
his/her discretion, award back pay to compensate
the employee, wholly or partially, for any wages
(including Contractor payments to the various Trust
and other Funds as provided in this Agreement) lost
because of the discharge or suspension. If a back
pay award is made, wages received from any other
employment or any sums received as unemployment
compensation while the discharge or suspension was
in effect shall be deducted by the arbitrator in
determining the amount of the award.

Grievances Subject to an Expedited Hearing

 

1. The following grievances shall be subject to an Expedited
Hearing:

(a) a complaint filed by the Union alleging a violation

of Section 7 (No Strike or Lockout), Section 25.B
(Referral and Hiring Procedure), and

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(b) a complaint filed by a Contractor or by the
Association (for itself or on behalf of any
Contractor) alleging a violation of Section 7 (No
Strike or Lockout) or a refusal by the Union to
refer employees to the Contractor in accordance
with the provisions of Section 25.B (Referral and
Hiring Procedure).

Grievances subject to an Expedited Hearing may, at the
complaint's option, be submitted directly to the Joint
Industry Committee. Such submittal to the Joint Industry
Committee shall be made in writing and must be submitted
within five (5) working days after the alleged violation
occurred or first became known to the complaint. Said
written submittal shall specify the nature of the
grievance, the specific Section(s) or provisions(s) of
the Agreement allegedly violated, and the remedy being
sought.

The Joint Industry Committee shall convene within two

(2) working days after it receives the aforementioned
written submittal.

SECTION 22

JOINT INDUSTRY COMMITTEE

A. Appointment of Representatives

l.

There is hereby established a Joint Industry Committee
(hereinafter referred to as "Joint Industry Committee"
and/or "Committee") to be composed of:

(a) Three (3) persons appointed by the Union, and

(b) Three (3) persons appointed by the Association for
and on behalf of the Contractors covered hereby.

Alternates may be selected by each of the appointing

parties to serve when regular members are or will be
absent.

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B.

Scope and Authority

 

l.

The Joint Industry Committee shall have the authority:

(a)

(d)

to review, hear, and make decisions on grievances
submitted to the Committee pursuant to the
provisions of Section 21 (Grievance Procedure and
Arbitration}, and

review and make recommendations with respect to
problem areas or other matters of mutual concern
that are referred to it, or which it takes upon its
own volition, and

in the case of complaints, problems, and/or
allegations that a Contractor has misused or abused
the provisions of Section 11.A.2, Section 11.A.3(c)
relating to the scheduling of a straight time
"make-up" day, and/or the provisions of Section
11.A.6 (a) and (b) relating to the scheduling of a
workweek; of other than five (5) eight (8) hour
days, the Committee shall, on a second upheld
charge before the Committee involving the same or
similar matter, be empowered to impose a fine or
other penalty on said Contractor, including an
order that said Contractor pay the applicable
overtime rate to the employees affected for the
work performed. If a fine is imposed, it shall be
paid as set forth in paragraph (d) below.

In the case of grievances subject to an Expedited
Hearing, namely: alleged violations of Section 7
(No Strike or Lockout), Section 25.C (Referral and
Hiring Procedures), to impose a fine or other
penalty (the amount of which shall be reasonably
related to the nature and extent of the violation)
on the Contractor, the Union, or any employee who
was found to have violated the specific sections
indicated, unless the violation was caused by
reasons beyond the control of the party found to be
in violation. If imposed, any such fine or penalty
shall be paid to a non-profit organization
designated by the Joint Industry Committee.

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It is specifically understood and agreed that all decisions
and recommendations of the Joint Industry Committee shall
be within the scope of this Agreement, and that said Joint
Industry Committee shall not have the authority to alter,
amend, or modify the terms of this Agreement in any way.
Should a problem area arise in which the Joint Industry
Committee recommends that the Agreement be amended, said
recommendation shall be referred. to the Union. and. the
Associations for review and appropriate action.

Rules of Procedures. Except as herein provided, the Joint

 

Industry Committee shall determine its own rules of procedure
and all other details necessary to carry out the business for
which it Was appointed.

Quorum

l.

A quorum at any meeting of the Joint Industry Committee
shall consist of at least two (2) Union Committee members
and two (2) Contractor Committee members. Unless a quorum
is present, no business shall be transacted.

The Committee may act in writing without a meeting upon any
matters which may properly come before it, provided such
action has the affirmative concurrence in writing of at
least three (3) Contractor Committee members and three (3)
Union Committee members, and provided further that a copy
of such written concurrence shall be forthwith mailed to
each non-participating Committee member.

Voting

l.

A quorum being present, all matters coming before the Joint
Industry Committee for consideration shall be decided by a
majority vote of the Committee members and/or Alternates
present and eligible to 'vote. If any' member of the
Committee requires it, said voting shall be conducted by_
secret ballot.

It is understood ‘that the number' of Committee members

eligible to vote shall be governed by the lesser number of
Contractor or Union Committee members present so that the

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total number of votes cast by the Contractor members may
not exceed the total number of votes cast by the Union
members and vice versa.

Rights of Board. The Committee may summons question, and
examine any party to this Agreement, or their representatives or
agents, in connection with any question or matter over which the
Joint Industry Committee may act. The Joint Industry Committee
may also have the books and accounts of any party covered by or
signatory to this Agreement examined by an independent certified
public accountant as to payroll records, payments made to
employees covered by this Agreement, and payment of fringe
benefits.

Expenses. Each party shall bear the costs and expenses of its
own representatives to the Joint Industry Committee. All
expenses which are incurred by the Joint Industry Committee
shall be divided equally between the parties.

Matter Involving Non-Association Contractor Signatory to this
Agreement. In the event a matter is presented to the Joint
Industry Committee involving a Contractor who is not a member of
the Association, but who is signatory to this Agreement or its
counterpart, then. and in that event, such Contractor, upon
receipt of notice by Certified Mail, may elect to designate one
(1) representative to serve as a member of the Joint Industry
Committee in lieu of one (1) of the regularly designated
representatives. Such Non-Association Contractor shall have the
right to be present or to be represented at the meeting or
meetings during which his/her matter is to be heard and shall
have the right to present evidence and testimony on his/her
behalf. In the event such Contractor fails or refuses to
designate a representative to serve as a member of the Committee
or fails or refuses to appear at the scheduled meetings, then in
that event the Joint Industry Committee, as regularly
constituted, may proceed in the same manner as if the Contractor
were present and represented as herein prescribed.

 

Limitation of Liability. No member of the Joint Industry
Committee shall be liable to anyone (including the parties
hereto, any Contractor signatory to this Agreement, any
employee covered by this Agreement, any other Unions or

 

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Associations, or any other person, firm, Corporation, or
other entity) as a result of decisions or acts made in
the performance of his duty under this Agreement.

SECTION 23

JURISDICTIONAL DISPUTES

 

The parties hereto agree that there shall be no lockout by the
Contractor, nor any strike, stoppage of work, or slowdown on the
part of the Union or its representatives or on the party of any
employee covered by this Agreement over jurisdictional disputes.

Jurisdictional disputes are defined as any dispute where two (2)
or more unions claim the disputed work. Such disputes shall not
be subject to the grievance procedure and shall not be
considered a violation of Section 24. SUBCONTRACTING. In the
event a jurisdictional dispute over any work being performed or
to be performed and involving any union, the Union, the
Contractor, the Association, and the other unions involved shall
meet within three (3) working days of the date of the dispute
first coming to the attention of any of the parties hereto or
amicably resolve the dispute.

If the parties aforementioned cannot or do not resolve said
dispute within two (2) working days after the PLAN FOR
SETTLEMENT OF JURISDICTIONAL DISPUTES IN THE CONSTRUCTION
INDUSTRY. If any union or Contractor refuses to submit such
dispute the PLAN FOR SETTLEMENT OF JURISDICTIONAL DISPUTES IN
THE CONSTRUCTION INDUSTRY then the Union may submit this dispute
as a grievance at the Third Step (Joint Industry Committee)
under Section 21. GRIEVANCE PROCEDURE AND ARBITRATION for
resolution as a violation of Section 23 and/or Section 24.

In the interim period during which the dispute is sought to be
resolved, the work shall proceed as originally assigned by the
Contractor and shall continue until a final settlement or
adjudication is rendered. Should the dispute have the effect

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of slowing down or stopping any part of the Contractor's work,
the Contractor shall be free to exercise any appropriate course
of action (including the initiation of proceedings with the
National Labor Relations Board) to settle the dispute and
restrain those who are responsible for the job disruption and
nothing in this Agreement or in this Section shall be deemed as
a condition precedent to any such action that the Contractor
would be lawfully entitled to take.

In no event shall a jurisdictional dispute be resolved in such a
manner as to require the employment of a particular tradesperson
where one cannot be efficiently and productively employed on a
full-day basis.

SECTION 24

SUBCONTRACTING

General Provision. The purpose and intent of this Section is to
preserve and protect the employment opportunities and the terms
and conditions of employment of all employees covered by this
Agreement to the maximum extent permitted by law. Except as
provided below, the Contractor shall subcontract work covered by
this Agreement that he/she does not perform with his/her own
forces only to a Subcontractor who is signatory to a Collective
Bargaining Agreement with Local #1 of Hawaii IUBAC and Local
#630 OPCMIA.

 

Definition of Subcontractor. A subcontractor is defined as any
person, firm, corporation, or other entity‘ (other than an
employee covered by this Agreement) who agrees orally or in
writing to perform, or who in fact performs for or on behalf of
a Contractor~ or subcontractor of 51 Contractor‘ any' part or
portion of the work covered by this Agreement.

 

Warranty Work. This Section shall not apply to subcontractors,
manufacturers, or dealers whose warranty of equipment or
machinery requires the repair and/or adjustment of said
equipment and machinery on the job site.

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Federal "Davis-Bacon" Projects Located on Military
Installations or Bases. The provisions of paragraph A, above,
shall apply to Federal, State, and County' "Davis-Bacon"
projects, including projects located on military installations
or bases.

 

 

Preservation of Work. The purpose and intent of this section
is to preserve and protect the employment opportunities and the
terms and conditions of employment of all employees covered by
this Agreement to the maximum extent permitted by law,

 

1. In order to protect and jpreserve, for the employees
covered by this Agreement, all work heretofore performed
by them, to protect the benefits to which employees are
entitled under this Agreement, and to prevent any device
or subterfuge to avoid the protection and preservation of
such work and benefits, it is hereby agreed as follows:

a. If and when the employer shall perform any work of
the type covered by this Agreement at any plant or
construction site.

(i) Under its own name.

(ii). Under the name of another entity (whether
a corporation, company, partnership, or any other
business entity, including a joint venture) wherein
the Contractor, including its owners and
stockholders, officers, directors, or partners
exercises either directly or indirectly (such as
through family members) any significant degree of
ownership, management or control, the terms and
conditions of this Agreement shall be applicable to
all such work; provided, however, that separate
ownership, management, and control of an independent
company by a child of an owner of a Contractor shall
not deemed to be direct or indirect control,
management, or ownership by the Contractor within
the meaning of this provision.

 

 

 

 

 

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SECTION 25

REFERRAL AND HIRING PROCEDURES

 

Notification of Quits and Other Terminations. The Contractor
shall notify the Union weekly of the names of those employees
who have quit, been laid off and/or terminated during the
previous workweek. This notification shall be given by means
of a standard notification form, a sample of which is attached
hereto as Exhibit “C“, or by other written means which
provides the same information as that set forth in Exhibit
TlCil .

 

Membership Standing. For the purpose of this Section 25, a
l‘member in good standing" shall be defined as one who has
completed payment of the regular Union initiation fee, or
reinstatement fee or who is paying said fee in accordance with
the administrative procedures of the Union and who tenders the
regular Union dues which are uniformly required as a condition
of retaining membership in the Union.

 

Referral and Hiring Procedures

 

1. Union as Sole and Exclusive Source of Referral. Except
as provided in paragraph 7 below, the Union shall be the
sole and exclusive source of referral of applicants for
employment.

 

2. Notice tx) Union Referral Office. When aa Contractor
requires additional persons for work covered by this
Agreement, he/she shall notify the Union Referral Office
of the qualification of the person or persons required.
Whenever possible, this notice shall be given forty-eight
(48) hours in advance of the time the Contractor desires
said person(s) to report for work.

 

3. Former Employees and Experienced Applicants

(a} When making requests to the Union Referral Office,
the Contractor may name persons who were formerly
employed by him/her at any time within the twenty -
four (24) month. period before the date of the
request, and if said persons are duly registered

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(b)

with the Union Referral Office and are available
for employment, the Union shall refer them to the
Contractor. Other referrals to the Contractor
shall be made on the basis of a referral list or
lists which shall be established and maintained by
the Union and which shall recognize the following
precepts:

(i) that applicants experienced in work similar to
that for which job openings exist whose
experience was gained locally and who
currently' reside in the locality be given
preference, and

(ii) that applicants for employment who appear to
meet the qualifications stated by the
Contractor be referred in the order of the
amount of experience they evidence in the type
of work for which the job openings exist.

(iii)Contractors starting projects in the
jurisdiction covered by this Collective
Bargaining Agreement may bring in supervisors
who do not work with the tools and one (1) key
personnel who may work with the tools. All
other working personnel must be obtained from
the Local’s Hiring and Referral lists. If and
only if the Hiring and Referral Office (s)
is/are unable to fill the request of the
Contractor, then the provisions of Paragraph 7
will apply. Under no circumstances will the
Contractor secure employees from cnn: of the
covered jurisdiction of this Agreement without
first informing the union,

The above referral lists shall be maintained on an
island-by-island basis, except that separate lists
shall also be established and maintained covering
the towns (and surrounding areas) of Kona and Hilo.

Each of the above referral lists shall be
established and maintained by the Union in
accordance with criteria of the National Labor

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Relations Act, as amended, and <other' applicable
Federal and/or State laws and regulations.

“Clearance Slips". All individuals referred by the Union
shall be given a "clearance slip" prepared in duplicate
and duly signed by an authorized representative of the
Union. One copy of said clearance slip shall be retained
by the Union for its records and one copy shall be given
to the individual being referred for employment for
handing to the Contractor's job superintendent or
foreperson.

 

No Clearance Slip; No Hire

 

(a) Any individual who does not possess a valid Union
signed clearance slip shall not be hired; and the
Union Office shall be promptly notified of the
instance.

(c) Any person who obtains employment by means of a
forged clearance slip or by any other fraudulent or
surreptitious means shall be subject to immediate
termination of employment.

Notice to Union of Rejection. It is understood that the
Contractor has the right to hire or reject any applicant
for employment as referred by the Union‘s Referral
Office. So that the records of the Union's Referral
Office may be complete, the Contractor shall immediately
notify the Union of any rejection. If requested by the
Union, a conference shall be held between the Contractor
and the Union, at which time the reasons for rejection
shall be explained.

 

If `Union Referral Office Does Not Fill Contractor's
Request Within 48 Hours

 

(a) If the Union's Referral Office does not fill the
Contractor*s requirements from the referral list
applicable to the particular island or area (Hilo
or Kona) in. which. the work is to be performed
within forty-eight (48) hours after the

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(C)

Contractor's request is made, said Contractor may
then secure employees directly from any other
source of labor he/she desires, including loan or
transfer from other Contractors.

With respect to loaned or transferred employees,
said Contractor shall, by means of a standard
notification. forth copies of which. are attached
hereto as Exhibit "B-2" (for Cement Finishers) and
Exhibit "B-3" (for Blocksetters) given prompt,
written notice to the Union of the names of the
loaned and/or transferred employees that he/she
will be using.

For all other directly secured employees, the
following procedure which is applicable ONLY when
the Union's Referral Office does not fill the
Contractor's requirements within 48 hours after the
Contractor's request is made shall be followed:

(i) the Contractor shall complete and sign a
"Confirmation. of Hiring Slip", prepared in
duplicate, which shall be in a form as per
Exhibit "D", attached hereto.

(ii) On or before the date so hired, the employee
shall take the Contractor-signed Confirmation
of Hiring Slip to the Union Referral Office so
that the date of his/her employment may be
confirmed to the end that the Contractor's and
said Referral Office records will be the same,
and possible disputes with respect to rate o
pay, union security, and other provisions of
this Agreement may thereby be avoided. Upon
such confirmation, one copy of said slip shall
be signed by an authorized representative of
the Union and returned to the employee for
his/her' return. to the Contractor. In. the
event said employee cannot report to the
Union's Referral Office on or before his/her
date of hire because of emergency or where the

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requirements of the job make immediate
commencement of work necessary, he/she shall
report not later than his/her second (2“) day
of work, unless other arrangements have been
made with the Union.

(iii)The Union guarantees that the employee so
hired and referred shall be sent back to the
Contractor without delay; provided, however,
that the Contractor involved had notified the
Union of his requirements pursuant to
paragraph Section 25.C.2 (Notice to Union
Referral Office), and has otherwise adhered to
the provisions of this Section 25.C (Referral
and Hiring Procedures).

No Discrimination

 

(a) The Referral and Hiring Procedures shall be
operated on a non-discriminatory basis; and neither
the Contractor nor the Union shall discriminate in
favor of or against any applicant because of
his/her membership or non-membership in the Union.

(b) As specified by Federal and State laws, neither the
Union nor any Contractor signatory hereto or
covered hereby shall discriminate against any
employee or applicant by reasons of race, color,
religion, sex, national origin, age, physical
impairment, or for being a disabled veteran or a
veteran of the Vietnam Era.

Grievance or Issues of Fact Regarding These Procedures.
Any individual aggrieved by the operation of these
referral and. hiring procedures, including any' posted
regulations subsequently adopted, and any Contractor who
faces a question of fact as to whether he/she (said
Contractor) has violated or otherwise failed to adhere to
these referral and hiring procedures shall have the right
to submit said grievance or question through either party
hereto directly to the Joint Industry Committee created
in Section. 22 (Grievance Procedure and .Arbitration);
provided that such submission is made in writing within

 

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ll.

five (5) working days after the occurrence of the
grievance. Said Committee shall have full power to adjust
the grievance and its decision hereon shall be final and
binding upon the individual grievant, the Contractor, the
Union, and all other parties hereto.

Posting. The Contractor and the Union shall post copies
of the above Referral and Hiring Procedures in places
where notices to employees and applicants for employment
are customarily posted.

Pre-Employment Physicals. New applicants to Hawaii's
Masonry Industry may be required to take physical
examinations as a prerequisite to employment. Employees
presently in the industry do not have to take a physical
examination as a prerequisite to employment providing:

 

(a) the employee has proof that he/she has taken a
physical examination as provided for under the
Hawaii Masons' Health and Welfare Plan within the
year immediately preceding the date of referral.
Such physical examination shall have been taken at
a health care facility as designated or approved
under the aforesaid Health and Welfare Plan and
shall include an evaluation of job-related physical
traits required in the trade.

(b) At the discretion of the Contractor, the employee
may then be given a form by the Contractor (a
sample copy of which is attached hereto as Exhibit
"E") to be completed by the examining physician
which will certify that the employee has received
the required physical and that the employee does
not have any physical condition which will preclude
him/her from satisfactorily performing the work
required. The pre-employment questionnaire may
also include inquiries regarding any injuries or
illnesses of the employee since his/her last
physical which may have an effect upon his/her
ability to perform in his/her trade. The doctor
shall evaluate the employee's statement. Such
doctor's visit shall be paid for by the Contractor.

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SECTION 26

ADMINI STRATIVE OFFI CE

 

A. Establishment

1. In order that the various joint programs as established
or continued under this Agreement may be economically
administered in a centralized office, the parties hereto
agree to the establishment of an Administrative Office,
hereinafter referred to as the "Ad Office".

2. Said Ad Office shall be established as soon as the Joint
Ad Committee, as provided for below, is satisfied that
said Ad Office shall be properly staffed and equipped to
perform the services expected of it.

B. Ad Committee

1. The affairs of the Ad Committee shall be supervised by an
Administrative Committee (hereinafter referred to as the
"Ad Committee") composed of five (5) persons appointed by
the Union and five {5) persons appointed by and from
amongst the Contractor Trustees on the various Joint
Trust Funds. Alternates may be selected by the appointing
parties when regular appointees are absent.

2. The persons or firms that perform certified public
accounting services to any of the Trust Funds provided
for under this Agreement and/or to the Ad Office itself
shall be ex-officio members of the Ad Committee.

C. Authority of the Ad Committee and Administrator

l. The Ad Committee shall select the location of the Ad
Office and shall have general supervision over the
operation of the Ad Office, and it shall have and may
exercise all of the authority and power as is necessary
to carry out its responsibility. The Ad Committee shall
also be the sole appointing and reporting authority of
and for the Ad Office Administrator, who shall manage the
day-to-day affairs of the Ad Office. Said Administrator
shall be a full-time employee of the Ad Office and shall

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not receive any compensation, directly or indirectly,
from either the Associations, the Union, or any
Contractor. The rate of compensation of said
Administrator shall be fixed from time to time by the Ad
Committee.

1. Subject to any requirements or definition of his or her
authority and duties as may be prescribed by the Ad
Committee, the Administrator shall be solely responsible
for the day-to-day operation and affairs of the Ad Office
and shall be the only person authorized to hire,
discipline, and/or terminate any other employee or
employees of said Ad Office. The rates of compensation
for other employees shall be within the salary guidelines
as established by the Ad Committee, except where higher
or lower rates are recommended by the Administrator and
approved by the Ad Committee.

Duties and Services of the Ad Office. The Ad Office shall be
expected to perform or cause to be performed the following
duties and services (but shall not be limited to):

1. the Ad Office shall keep, secure, make and/or file or
cause to be kept, secured, or filed any and all records
and reports as the Board of Trustees of any of the Trust
Funds may request or direct, or which are required by
applicable State or Federal laws, rules, and regulations.

2. The Ad Office shall maintain or cause to be maintained
accurate records and accounts of all financial
transactions involving or relating to any of the Funds
which it services, which records and accounts shall be
audited annually by a certified public accountant as
selected by the Board of Trustees of the applicable Trust
Fund. The report of said audit shall be submitted to
each Trustee of the applicable Trust Fund.

3. The Ad Office shall also maintain or cause to be
maintained accurate records and accounts of all financial
transactions involving the Ad Office, which records and
accounts shall be audited annually by a certified public
accountant selected by the Ad Committee. The report of

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said audit shall be submitted to each of the Trustees of
the various Funds and programs which utilize the services
of the Ad Office.

As may be generally authorized or specifically directed
by the Board of Trustees of any of the Trust Funds, the
Ad Office shall also make or cause to be made any audit
of a Contractor's payroll records to ascertain whether
all contributions due have been paid.

The Ad Office shall also perform or provide or cause to
be performed or provided any and all other services as
the Board of Trustees of any of the Trust Funds may
request or direct, or which are required by applicable
State or Federal laws, rules, and regulations.

Expenses

l.

As determined by the Ad Committee, subject to the
approval of each of the respective Board of Trustees, the
operating expenses of the Ad Office shall be prorated
amongst the various funds and programs which utilize its
services.

Each party shall bear the costs and expenses (if any) of_
its own representatives to the Ad Committee.

Any expenses which are incurred by the Ad Committee
itself shall be borne by the Ad Office.

Rules of Procedure. Except as herein provided, the Ad

 

Committee shall determine its own rules of procedure and all
other details necessary to carry out the business for which it
was appointed.

Quorum

A quorum at any meeting of the Ad Committee shall consist
of at least three (3) Union Committee members and three
(3) Contractor Committee members. Unless a quorum is
present, no business shall be transacted.

The Committee may act in writing, without a meeting, upon

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any matter which may properly come before it, provided
such action has the affirmative concurrence in writing of
at least two (2) Contractor Committee members and two (2)
Union Committee members, and provided further that a copy
of such written concurrence shall be forthwith mailed to
each non-participating Committee member.

H. Voting

1. A quorum being present, all matters coming before the Ad
Committee for consideration shall be decided by a
majority vote of the Committee members and/or alternates
present and eligible to vote. If any member of the Ad
Committee requests it, said voting shall be conducted by
secret ballot. It is understood that the number of
Committee members eligible to vote shall be governed by
the lesser number of Contractor or Union Committee
members present so that the total number of votes cast by
the Contractor members may not exceed the total number of
votes cast by the Union members and vice versa.

2. If the Ad Committee is unable to arrive at a majority
decision, then either party may refer the matter to the
Joint Industry Committee.

I. Limitations of Liability. No member of the Ad Committee shall
be liable to anyone, including parties, Contractors, or
employees covered by or signatory to this Agreement, as a
result of decisions or acts made in the performance of his/her
duty under this Agreement.

 

SECTION 27

GENERAL SAVINGS CLAUSE

It is not the intent of either party hereto to violate any law,
rulings, or regulations of any governmental authority or agency
having jurisdiction of the subject matter or of this Agreement,
and the parties hereto agree that in the event any provisions of
this Agreement are finally held or determined to be illegal or void
as being in contravention of any such laws, rulings, or
regulations; nevertheless, the remainder of the Agreement shall
remain in full force and effect, unless the parties so found to be

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void are wholly inseparable from the remaining portions of this
Agreement. The parties agree that if and when any provisions of
this Agreement are finally held or determined to be illegal or
void, they will then promptly enter into negotiations concerning
the substance thereof, it being understood that the provisions of
Section 7 (No Strike or Lockout) shall continue to remain in full
force and effect.

SECTION 28

MOST FAVORED NATIONS CLAUSE

 

Should the Union at any time during the term of this Agreement
enter into an agreement with any Contractor or Contractors
Association covering work covered by this Agreement which provides
terms and conditions more advantageous to such Contractor or to
members of said Contractors Association, OR should the Union in the
case of the Contractor which is bound to this form of Agreement
countenance a course of conduct by such Contractor enabling it to
operate under' more advantageous terms and conditions than is
provided for in this Agreement, then any Contractor party to this
Agreement shall be privileged to automatically adopt such
advantageous terms and conditions.

SECTION 29

MODIFICATION OF AGREEMENT

 

This Agreement shall not be modified except by written document
signed by the parties hereto.

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SECTION 30

REPRESENTATIONS

This document contains the entire agreement of the parties and
neither party has made representations to the other which are not
contained herein,

IN WITNESS WHEREOF, the parties hereto, through their duly

 

authorized repres§`ntative(s) , have cause this Agreement to be

executed on the 28 day of Oct°bel' , 2008

INTERNATIONAL UNION OF BRICKLAYERS & MASON CONTRACTORS

ALLIED CRAFTSMEN LOCAL #l OF HAWAII, AFL-CIO ASSOCIATION OF
HAWAII

/Z?é§~$;zé;:é%efvév@<; '
Its Business Manager é`
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o@rftPERsoN, LAsoR
Committee
oPERATIvE PLAsTERERs' sc cEMENT MAsoNs'
INTERNATIONAL AssocIATIoN oF THE UNITED
sTATEs AND cANADA, LOCAL #630, AFL-clo

Its Bus iness Manager

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MASTER AGREEMENT COVERING THE CEMENT FINISHING
AND MASONRY TRADES IN THE STATE OF HAWAII
EXHIBIT "A"

CLASSIFICATION, WORK COVERAGE & HOURLY WAGE SCHEDULES
COVERING CEMENT FINISHERS & MASONS IN THE STATE OF HAWAII

A. Classification and Work Coverage (as defined in Exhibit A-l)
and Hourly Wage Schedules Covering Cement Finishers (Operative
Plasterers & Cement Masons International Association of the United
States and Canada, Local No. 630, AFL-CIO)

 

Cement Machine Working _
Effective Date Finisher Operator Foreperson Foreperson*
September 1, 2008 $ 29.90 $ 30.05 $ 30.90 $ 31.90
August 31, 2009 $ 31.15 $ 31.30 $ 32.15 $ 33.15
August 30, 2010 $ 32.40 $ 32.55 $ 33.40 $ 34.40
August 29, 2011 $ 33.85 $ 34.00 $ 34.85 $ 35.85
September 3, 2012 $ 35.30 $ 35.45 $ 36.30 $ 37.30
September 2, 2013 $ 36.80 $ 36.95 $ 37.80 $ 38.80

*Shall also work with the tools of the trade if required to do so
by the Contractor.

Percentage of

 

 

Cement Finisher Apprentice Journeyperson's Wage Rate
lst Period Apprentice: 1-1000 hours ............... 50%
2nd Period Apprentice: 1001-2000 hours ............... 55%
3rd Period Apprentice: 2001-3000 hours ............... 60%
4th Period Apprentice: 3001-4000 hours ............... 70%
Eth Period Apprentice: 4001-5000 hours ............... 75%
6th Period Apprentice: 5001-6000 hours ............... 80%
7th Period Apprentice: 6001-7000 hours ............... 85%
Bth Period Apprentice: 7001-8000 hours ............... 90%

B. Classification and Work Coverage (as defined in Exhibit A-2)
and Hourly Wage Schedules Covering Masons (International Union of
Bricklayers & Allied Craftsworkers, Local No. 1 of Hawaii, AFL-CIO)

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Classification,

Work Coverage,

Schedules Covering Cement Finishers and
Masons in the State of Hawaii

Exhibit

Page 2

\\All

Effective Date

September 1,

August 31,
August 30,
August 29,

September 3,
September 2,

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*Shall also work with the tools of
by the Contractor.

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Period
Period
Period
Period
Period
Period
Period

Apprentice:
Apprentice:
Apprentice:
Apprentice:
Apprentice:
Apprentice:
Apprentice:
Apprentice:

1-1000
1001-2000
2001-3000
3001-4000
4001-5000
5001-6000
6001-7000
7001-8000

1-1000
1001-2000
2001-3000
3001-4000
4001-5000
5001-6000
6001-7000
7001-8000

and Hourly Wage

 

Working

Foreperson Foreperson*
$ 30.95 $ 31.95
$ 32.20 $ 33.20
$ 33.45 $ 34.45
$ 34.90 $ 35.90
$ 36.35 $ 37.35
$ 37.85 $ 38.85

the trade if required

hours
hours
hours
hours
hours
hours
hours
hours

hours
hours
hours
hours
hours
hours
hours
hours

79

Percentage of

50%
55%
60%
70%
75%
80%
85%
90%

55%
60%
65%
70%
75%
80%
85%
90%

Journeyman's Wage Rate

to do so

Classification,

Work Coverage, and Hourly Wage

Schedules Covering Cement Finishers and
Masons in the State of Hawaii

Exhibit

\\AI/

Page 3

Pointer/Caulker/Cleaner Apprentice

lst
2nd
3rd
4th
5th
6th

C.

Period Apprentice: 1-1000 hours 50%
Period Apprentice: 1001-2000 hours 55%
Period Apprentice: 2001-3000 hours 60%
Period Apprentice: 3001-4000 hours 70%
Period Apprentice: 4001-5000 hours 80%
Period Apprentice: 5001-6000 hours 90%
Benefit Contributions for Apprentices. Only Health & Welfare

 

fund and Research and Development funds contribution shall be
effective and shall be made during the first 1,000 work hours.
Regular per hour contributions to the Annuity fund, the
Vacation/Holiday Fund, the Pension Fund and the Apprentice and
Training Fund shall be effective and shall be made on behalf
of all apprentices upon completion of first 1,000 hours.

Effective as of the dates listed below, the contractor shall
contribute to the Health and Welfare fund for each hour worked
by each employee covered by this Agreement, the following

amount.
Effective September l, 2008 $6.87 per hour
Effective August 31, 2009 $6.87 per hour
,Effective August 30, 2010 $6.87 per hour
Effective August 29, 2011 $6.87 per hour
Effective September 3, 2012 $6.87 per hour
Effective $6.87 per hour

September 2, 2013

Effective as of the dates listed below, the Contractor shall
Contribute to the Research and Development funds for each hour

worked by each employee covered by this Agreement, the
following amount:
Effective September 1, 2008 $0.25 per hour
Effective August 31, 2009 $0.25 per hour
Effective August 30, 2010 $0.25 per hour
Effective August 29, 2011 $0.25 per hour

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Classification, Work Coverage, and Hourly Wage

Schedules Covering Cement Finishers and

Masons in the State of Hawaii

Exhibit “A”

Page 4
Effective September 3, 2012 $0.25 per hour
Effective September 2, 2013 $0.25 per hour

Benefit Contributions for Apprentices indentured before
September l, 2003. Except for the regular contribution to the
Hawaii Masons Health & Welfare Trust Fund and the Research and
Development Fund, no other Trust Fund or other contributions
Shall be effective to or shall be made for or on behalf of an
apprentice who has not attained 1,000 work hours. Effective
December 21, 1992, regular per hour contributions to the
Annuity Fund, the Vacation/Holiday Fund, the Pension Fund, the
Apprenticeship & Training Fund, shall be effective and shall be
made on behalf of all apprentices after completion of 1,000
work hours. (Note: Contributions to the Hawaii Construction
Industry improvement Program, and the Labor Association Contract
Negotiation/Administration Fee are also applicable)

 

Benefit Contributions for Apprentices Indentured from

September 1, 2003. Apprentices indentured from September 1, 2003
shall receive regular per hour contributions for Health and
Welfare Fund from first work hour and all other Trust Fund
benefits shall apply and be made on behalf of these apprentices
using rates as shown on wage schedule until journeyperson status
is attained. (Note: Contributions to the Hawaii Construction
Industry Improvement Program, and the Labor Association Contract
Negotiation/Administration Fee also applicable.)

 

D. Height Pay. When an employee is required to work from a
bosun's chair and/or from a free-swinging cable suspended
scaffold or work platform (not attached to the building), said
employee shall be paid $1.00 per hour over his/her regular
straight time rate for each hour worked on said rig.

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Classification,

E.

Work Coverage, and Hourly Wage

Schedules Covering Cement Finishers and
Masons in the State of Hawaii

Exhibit "A"
Page 5

Masons & Plasterers Fraternal Association. Upon receipt of

 

the proper employee-signed authorization form, the
employer agrees to deduct an amount equal to $0.35 per hour
from the net wages of said employee and transmit same to the
Hawaii Masons and Plasterers Fraternal Association.

"Davis-Bacon“ Projects

1. On

all Federal, State, and County projects, the

Contractor shall only be required to pay the wage and
benefit rates as set forth below:

(a)

(C)

For the first 18 months of from the sate that the
Contractor commences work on the project.

The "regular" wage rates as set forth. in this
Agreement and in effect as of the date the project
is bid. Contract- contributions to the 'various
Trust and other Funds as provided for in this
Agreement, however, shall be made in the amounts
set forth in the Agreement and shall include any
increased rates of contributions as may become
effective after the project was bid.

After the aforesaid 18-month period

The then-current "regular" wage and benefit rates
as set forth in this Agreement.

Extending beyond the 18-month period

The 18-month period specified above may be extended on any
given project, but only by mutual written Classification, Work

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Coverage,

and Hourly Wage

Schedules Covering Cement Finishers and
Masons in the State of Hawaii
Exhibit “A”

Page 6

agreement between the Union and the Contractor.

Notification to Union. The Contractor shall give
appropriate notice to the Union and to his/her employees
regarding "Davis-Bacon" projects that he/she is awarded,
setting forth pertinent information regarding the project
and wage/benefit rates which shall apply. _ This
notification shall be given. by' means of a standard
notification form, a sample copy of which is attached
hereto as Exhibit "H" or by other written means provides
the same information as that set forth on said exhibit.

Effective Date. This subsection ("Davis-Bacon" Projects)
shall be effective as of September 1, 2003 and shall
apply to all government "Davis-Bacon" projects for which

Prime Contractors quotations are submitted on or after
that date,

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Exhibit “A-O”

STIPULATION

In signing this Stipulation, the undersigned (employer)
(employer association of behalf of its members) agrees to be
bound by all the terms and provisions of the Agreement
establishing procedures for the resolution of jurisdictional
disputes in the construction industry known as the Plan for the
Settlement of Jurisdictional Dispute in the Construction
Industry. In particular, the undersigned agrees to abide by
those provisions of the Plan requiring compliance with the
decision and awards of the Administrator, Arbitrators of National
Arbitration Panels established under the Plan and to fulfill the
obligations of the employer set forth in the Agreement.

This stipulation shall run for the term of this Agreement.

 

 

 

 

 

Authorized signature Contractor
Print Name Date
Title

84

Cement Mas
1. Forms

(a)

(b)

2. Fabri

Const

(a)

(b)

(c)

(d)

(e)

(g)

(h)

EXHIBIT "A-l"

CLASSIFICATIONS - CEMENT MASONS

 

Ol'lS

Making and setting of all forms for slabs and
sidewalks up to one (1) board in height, including
curbs and gutters.

Setting of all strips, screeds, grades, and stakes
for above.

cations, Setting, and Finishing Concrete
ruction

Forepersonship and/or supervision.
Troweling and finishing slabs and flat work.
Forming and finishing of curbs and gutters.

Finishing, including packing, patching, and washing
of all concrete construction.

Preparatory work on concrete construction to be
finished, rubbed, sandblasted, cutting of nails,
wire, wall ties, and the patching, brushing,
chipping, bush hammering, or grinding by machine or
carborundum stone.

Laying, spreading, and finishing of all types of
bituminous concrete.

Spreading, rodding, and finishing of all toppings
of cement, epoxies, and plastic materials,

including base up to 6" high.

Applying color pigment mixed with cement in any
forms or methods of application.

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Classifications - Cement Masons Union
Exhibit “A-l”

Page 2
3. Materials Abutting Concrete Surfaces
(a) Patching, packing, pointing, and caulking around
all steel or metal frames abutting concrete
surfaces.
4. Prefabricated and Prestressed Panels
(a) Forming and finishing of all prefabricated and
prestressed concrete panels, whether cni the job
site or at the precast yard.
(b) Packing, pointing, and caulking between panels.
5. Gunite Application
(a) Applying of gunite of one-and-one-half (1 1/2)
inches or less, including the handling of the gun
nozzle.
(b) All tooling, shaping, and finishing of gunite of
any depth or thickness.
6. Weatherproofing and Adhesive Application

(a) Applying of all weatherproofing in conjunction with
finishing concrete and cement work such as
horoseal, ironite, plasterweld, or similar products
regardless of methods of application.

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LETTER OF UNDERSTANDING REGARDING
JURISDICTIONAL DISPUTE

 

 

In the event a disagreement or dispute arises over jurisdiction
between the International Brotherhood of Painters and Allied Trades
Local 1791 and 1944 AFL-CIO and the International Union of
Bricklayers and Allied Craftworkers Local 1, AFL-CIO and the
operative Plasterers and Cement Masons International Association of
the United States and Canada Local 630 AFL-CIO, they shall resolve
the dispute in following manner:

1) The parties hereto shall be made aware that a
dispute exists. Within three (3) working days
of Notification, the parties agree to meet and
amicably resolve the dispute.

2) If the parties cannot agree, the dispute will be
referred to the respective International Unions
for resolution.

3) In the interim period during which the dispute is
to be resolved, the work in question shall proceed
as originally assigned by the Contractor.

4) The parties hereto agree not to take any strike
action as a means of settlement and further agree
to abide by any decision reached under this
Agreement.

Agreed on this day of , 2008, by:

 

Business Representative/Financial Secretary
International Brotherhood of Painters and Allied
Trades Local 1791 AFL-CIO

 

Business Manager
International Brotherhood of Painters
And Allied Trades Local 1944 AFL-CIO

 

Business Manager
International Union of Bricklayers and
Allied Craftworkers Local 1 AFL-CIO

 

Business Manager

Operative Plasterers and Cement Masons
International Association of the United States
And Canada Local 630 AFL-CIO

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LETTER OF UNDERSTANDING REGARDING
JURISDICTIONAL DISPUTE

In the event a disagreement or dispute arises over jurisdiction
between the International Brotherhood of the Laborers'
International Union of North America Local 368 AFL-CIO and the
International Union of Bricklayers and Allied Craftworkers Local 1F
AFL-CIO and the operative Plasterers and Cement Masons
International Association of the United States and Canada Local 630
AFL-CIO, they shall resolve the dispute in following manner:

1) The parties hereto shall be made aware that a
dispute exists. Within three (3) working days
of Notification, the parties agree to meet and
amicably resolve the dispute.

2) If the parties cannot agree, the dispute will be
referred to the respective International Unions
for resolution.

3) In the interim period during which the dispute is
to be resolved, the work in question shall proceed
as originally assigned by the Contractor.

4) The parties hereto agree not to take any strike
action as a means of settlement and further agree
to abide by any decision reached under this
Agreement.

Agreed on this day of , 2008, by:

 

Business Manager
International Brotherhood of the
Laborer’s Union Local 368 AFL-CIC

 

Business Manager
International Union of Bricklayers and
Allied Craftworkers Local 1 AFL-CIO

 

Business Manager

Operative Plasterers and Cement Masons
International Association of the United States
And Canada Local 630 AFL-CIO

88

EXHIBIT "A-2 "

CLASSIFIC.ATIONS - BRICKLAYERS AND ALLIED CRAFTSWORKERS

 

Bricklayers

l .

Laying of all buick made from any materials such as
carbon materials, Karbate, Impervite or ndxtures, all
acid resistant materials, terra cotta, glass, and
porcelain. (Where such materials are formed or
manufactured to substitute for tile, then all
installation will be the work of the tile layer under
Section H.

Laying of all brick products in mines, tunnels, sewers,
electrical and telephone conducts, residential and
commercial buildings, mills, iron works, blast or smelter
furnaces, chimneys, and kilns.

Making all cuts on. brick walls, fireproofing, block
arching, terra cotta, mineral-wool, cork blocks and
glass, or any substitute for the above materials.

Pointing, filling, and caulking and cleaning of all
joints and other work necessary to complete the work
under the foregoing categories.

Application of all waterproofing, l black mastic
waterproofing, silicone, and/or substitutes sandwiched
between many cements in the interior of the wall.

Stone Mason

1.

Laying all rips, rubble work, with. or without mortar,
setting all cut stone, marble, slate or stone work
(meaning, as to stone, any work nenufactured from such
foreign or domestic products as are specified and used in
the interior or on the exterior of buildings by architects
and are customary called "stone" in the trade); cutting all
shoddies, broken ashlar or random ashlar that is roughly
dressed upon the beds and joints, and range ashlar not over
10 inches in height; dressing all jambs, corners, and
ringstone that are roughly

89

Classifications - Bricklayers and Allied Craftworkers
Exhibit "A-2"
Page 2

dressed upon the beds, joints, or reveals, and cutting of
a draft upon same for_plumbing purposes only; and the
cleaning, cutting of joints, and pointing of stone work.

2. This applies to all work in buildings, sewers, bridges,
railroads, bulkheads, breakwaters, jetties, playgrounds,
parks, landscaping, and curbing or other public work, and
to all kinds of stone, particularly to the product of the
locality where the work is being done.

3. Cleaning, grouting, pointing, and other necessary work to
achieve and complete the work under the foregoing
categories.

C. Artificial Mason

1. Cutting, setting, and pointing cement blocks and all
artificial stone or marble, either interior or exterior,
when set by the usual custom of the stone mason and
marble setter. All cement that is used for backing up
external walls, building party walls, columns, girders,
beams, floors, stairs, and arches and all material
substituted for clay or natural stone products.

2. All artificial masonry, the cutting, setting, and
pointing of all concrete prefabricated slabs, regardless
of dimension size.

D. Cement Mason

1. The laying out, screeding, and finishing of all cement,
concrete, brown stone composition, mastic and gypsum
materials, also for composition base and vault lights.

2. The cutting of all cement and concrete for patching and
finishing; the bush hammering of all concrete when cast
in place; the operation of cement gun, the nozzle and the
finishing of all material applied by the guns, also the
operation of the cement floor finishing machines.

90

Classifications - Bricklayers and Allied Craftworkers

Exhibit
Page 3

llA__ 2 ll

E. Marble Mason

The carving, cutting, and setting of all marble, slate,
including slate blackboards, stone albereen, carrara,
sanionyx, vitrolite, and glass block, scagliola,
marbleithic and all artificial, imitation or cast marble of
whatever thickness or dimension. This shall apply to all
interior work, such as sanitary, decorative and other
purposes inside of buildings of every description wherever
required, including all polish, honed, or sand

finish; also the cutting and fitting of all above materials
after they leave mills or ships, as well as all accessories
in connection with such work, and the laying of all marble
tile, slate tile, and terrazzo tile.

F. Plastering

l.

The installation of interior or exterior plastering, plain
and ornamental, when done with stucco, cement and lime
mortars or patent materials; artificial marble work, when
applied ill plastic forum (composition. work 111 all its
branches); the covering of all walls, ceilings, soffits,
piers, columns, or any part of a construction of any sort
when covered with any plastic material in the usual methods
of plastering; the casting and sticking of all ornaments of
plaster or plastic compositions, the cutting and filling of
cracks.

All cornices, molding, coves, and bull nose run in place on
rods and white mortar screeds with a regular mold, and all
substitutes of any kind, when applied in plastic form with
a trowel, or substitute for same.

Preparing, installing and repair of all interior and

exterior insulation systems and fireproofing of all steel
beams, columns, metal ducts, and vessels.

91

Classifications - Bricklayers and Allied Craftworkers

Exhibit
Page 4

llA_Z ll

G. Marble, Mosaic, and Terrazzo Work

The installation of marble, mosaic, venetial enamel, and
terrazzo; the cutting and assembling of mosaics; the
casting of all terrazzo in shops or jobs; all rolling of
terrazzo work.

All scratch coat on walls and ceilings where mosaic and
terrazzo is to be applied with an allowance of not less
than a one-half inch bed.

All bedding above concrete floor or walls, the preparation,
cutting, laying, or setting of metal composition or wooden
strips and grounds and the laying and cutting of metals,
strips, lath, or other reinforcement, where used in mosaic
and terrazzo work.

All cement terrazzo, magnesite terrazzo, Dex-O-Tex
terrazzo, epoxy matrix terrazzo, exposed aggregate, rustic
or rough washed for exterior or interior of buildings
placed either by machine or by hand, and any other kind of
mixtures of plastics composed of chips or granules of
marble, granite, bluestone, enamel, mother of pearl,
quartzr ceramic colored quartz, and all other kinds of
chips or granules when mixed with cement, rubber, neoprene,
vinyl, magnesium chloride or any other resinous or chemical
substances used for seamless flooring systems, and all
other binding materials when used on walls, floors,
ceilings, stairs, saddles or any other part of the interior
or exterior of the building and also other work not
considered a part of the building such. as fountains,
swimming pools, etc.; also all other substitutes that may
take the place of terrazzo work.

Cutting, assembling, and setting of art ceramic and glass
mosaic.

Finishing of cement floors where additional aggregate of

92

Classifications - Bricklayers and Allied Craftworkers

Exhibit

Page 5

H.

Tile

llA__2 ll

stone is added by spreading or sprinkling on top of the
finished base and troweled or rolled into the finish and
then the surface ground by grinding machines.

Layer

Laying, cutting, or setting of all tile where used for
floors, walls, ceilings, walks, promenade roofs, stair
treads, stair risers, facings, hearths, fireplaces, and
decorative insert, together with any nerble plinths,
thresholds or window stools used in connection with any
tile work; also, preparing and setting all concrete,
cement brick work, or other foundation or materials that
may be required to properly set and complete such work;
setting or bedding all tiling, stone marble, composition,
glass mosaic, or other materials forming the facing,
hearth, or fireplace of a mantel, or the mantel complete,
together with the setting of all cement, brick work, or
other materials required in connection with the above
work; also the slabbing and fabrication of tile mantels,
counters and tile panels of every description, and the
erection and installation of same; the building, shaping,
forming, construction, or‘ repairing of all fireplace
work, whether in connection with a mantel hearth facing
or not, and the setting and preparing of all material,
such as cement, plaster, mortar, brick work, iron work,
or other materials necessary for the proper and safe
construction and completion of such work.

It will be understood the word "tile" refers to all
burned. clay' products, as used. in. the tile industry,
either glazed or unglazed, and to all composition
materials made in single units up to 15"x20"x2", except
quarry tiles larger than 9"xl-1/4", also to mixtures in
tile form of cement, plastics, and metals that are made
for an intended use as a finished floor surface, whether
upon interior or exterior floors, stair treads, promenade
roofs, garden walks, interior walls, ceilings, swimming
pools, and all places where tile may be used to form a

93

'Classifications - Bricklayers and Allied Craftworkers

Exhibit
Page 6

|lA_ 211

finished surface for practical use, sanitary finish, or
decorative purposes, for setting all accessories in
connection therewith, or for decorative inserts in other
materials.

All terra cotta called unit tile in sizes of 67“x12" or
under regardless of method of installation, quarry tile
9"x9"x1-1/4" or less; split brid< or quarry tile or
similar material where the bed is floated or screeded and
the joints grouted. The bedding, jointing, and pointing
of the above materials shall be the work of the craft
installing the same. All clay products known as terra
cotta tile, unit tile, ceramic veneer, and machine-made
terra cotta, and like materials in sizes 6“x12" and less
regardless of the method of installation,

In matters dealing with jurisdiction of work, both parties shall

recognize any jurisdictional agreement between international
unions.
I. Pointing-Cleaning-Caulking

1. Pointing-cleaning-caulking shall consist of, but not be

limited to, the following procedures and installation of
the following materials;

a. The pointing-cleaning-caulking of all types of
masonry, caulking of all window frames encased in
masonry‘ on brick, stone, or cement structures,
including all grinding and cutting out on such work
and all sand blasting, steam cleaning, and gunite
work.

b. The pointing, cleaning, and weatherproofing of all

buildings, rain elevators, and chimneys built of
stone, brick, or concrete. lt shall include all

94

Classifications - Bricklayers and Allied Craftworkers
Exhibit "A-2"

Page 7
grinding and cutting out, sand blasting, and gunite
work on same.

c. This is not to be construed as denying the right of
the brick or stone mason members to apply
themselves at this branch of trade.

J. Special Categories
1. General, special, and new categories and materials

identifiable with the trade and skills of the masons.

95

10.

11.

12.

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14.

15.

16.

17.

18.

19.

TOOL LIST FOR BRICKLAYER MASONS

Brick hammer
Chalk line
Jointer - round
Level - 4'

Line

Line block
Pointer

Rule

Sled runner
Trowel

Bolt cutter
Brush - 6"
Margin - 3/8ll and 2"
Rake

Sponge float

Twig
Chisel
Line pin

Utility knife

96

SUGGESTED EQUIPMENT AND TOOL LIST FOR JOURNEYPERSON

TOOLS LIST FOR CEMENT FINISHERS OF THE MASON
CONTRACTORS ASSOCIATION OF HAWAII

MARGIN TROWEL

POINTING TROWEL

CEMENT WASH BRUSH ~ 6“ NYLON
ALUMINUM HAWK - 13"X13“

DARBY - 3‘ OR 4'

MAGNESIUM FLOAT - 12" X 3 1/2"
MAGNESIUM FLOAT - 20" X 3 1/2"
SPONGE RUBBER FLOAT

FOAM PLASTIC FLOAT

FINISHING TRowELs

1) sTEP 0R MIDGET

2) szMMING PooL - RouNDED EDGE
3) PLAsTER - 11" x 5 1/2"

4) 12" X 3"
5) 14" X 3"
6) 16" X 4"
7) 18" X 4"
B) 20" X 4"
EDGERS

WIDTH RADIUS

3 1/2" X 3/8"
3/4" X 3/8"
Su X l/2n
6" x lu

6" X 1 1/2"
3 1/2" x 1/4"
3" X l/Bu
3" X 1/4"

RUBBER BOOTS

KNEE BOARD

TAPE MEASURE - 25'
UTILITY KNIFE

HARD HAT

SAFETY GLASSES*
CONCRETE CHISEL - l"
CHALK LINE REEL

50' OR lOO' TAPE MEASURE
FRAMING HAMMER

PLIERS

CARPENTER APRON

TIE WIRE REEL

WIRE CUTTER - 18" OR 20"
SLEDGE HAMMER

CROW BAR - 2'.6"

NAIL PULLER

TORPEDO LEVEL, 24" LEVEL & 48" LEVEL
SQUARES - SMALL & LARGE
3/4" WOOD CHISEL

HACK SAW

CARPENTER SAW - 8 PT.
EAR PLUGS OR PROTECTORS*

97

GRoovERs

1) ADJUSTABLE BIT GRoovER
2) 1/2"w X 1"D GROOVER

3) 3/a"w X 1/2"D GRoovER

sTEP FINIsHING TooLs

1) INsIDE TooL

2) oUTsIDE TooL

3) 4 GRoovE sAFETY sTEP EDGER

*suPPLIED sr coNTRAcToR, TAKEN cARE oF BY MAsoN
11993)

SUGGESTED EQUIPMENT AND TOOL LIST FOR JOURNEYPERSON
TOOL LIST FOR COMBINATION BRICKLAYER MASONS
OF THE MASON CONTRACTORS ASSOCIATION OF HAWAII

FRAMING HAMMER

sLEDGE HAMMER & sToNE HAMMER

wIRE-MESH cUTTER - 18" oR 20"

TIE wIRE REEL

PLIERS

cRow BAR - 2'.6"

NAIL PULLER

TAPE MEASURE - 25r & 100'

coNsTRUcTIoN woRKER's APRON (NAIL)
ToRPEDo LEvEL `

24" LEVEL

43" LEvEL

sMALL sQUARE

BIG FRAMING sQUARE

wooD cHIsEL - 3/4" wIDE

RUBBER BOOTS

KNEE BOARD

HACK sAw

cARPENTER sAw - a PoINT

PoINTING TRowEL

TILE HAMMER

4" BRICKSET, TUcK PoINT cHIsEL & LINE PIN
TUCK PoINTING MARGIN TRowEL - 3/16", 1/4",
JOINTERS - 3/8", 1/2", s/B", 3/4"

sLEDS - v & 1/2" coNcAvE

RAKER

BRAIDED MASON LINE

cHALK LINE

MAsoNRY BRUSH, sPoNGE FLOAT, RUBBER FLoAT,
uTILITY KNIFE

3f811' 1/211,

CARPET FLOAT

HARD HAT, SAFETY GLASSES*, SAFETY TOE SHOES, EAR PLUGS*

ALUMINUM HAWK - 13“ X 13"
CEMENT WASH BRUSH - 6" NYLON
DARBY - 3' OR 4'

MAGNESIUM FLOATS - 12" OR 20"

FINISHING TROWELS

1) STEP OR MIDGET

2) SWIMMING POOL

3) PLASTER ll" X 5 1/2"
4) 12“ X 3"

EDcERs

1) 3 1/2" x 3/9“
2) 3/4ll x 3/8"
3) 6" x 1/2"

4) 611 X 111

98

131/811l 3/411' 7/811r 111i l_l/zur 211

OR

UJ\'|O'\U'|
vvvv

51
6)
7)
B)

PROTECTORS

1411 X 311
1611 X 411
lB" X 4"
20" X 4"

6" X 1 1/2"

3 1/2" X 1/4“
3" X 1/8"

311 X 1/411

STEP TOOLS

1) INSIDE TOOL

2) OUTSIDE TOOL

3) 4 GROOVE SAFETY STEP EDGER

*SUPPLIED BY CONTRACTOR, TAKEN CARE OF BY MASON

 

(1993)
SUGGESTED EQUIPMENT AND TOOL LIST FOR JOURNEYMAN
TOOL LIST FOR BRICK LAYERS OF THE
MASON CONTRACTORS ASSOCIATION OF HAWAII
40" - 48" LEVEL

TORPEDO LEVEL

TILE TROWEL

TAPE MEASURE - 25'

TAPE MEASURE - 50' TO lOO'
BRICK HAMMER

4" BRICK SET CHISEL
POINTING TROWEL

TUCK POINTING MARGIN TROWEL

 

l) 3/16" WIDE
2) 1/4" WIDE
3) 3/8" WIDE
4) 1/2" WIDE
5) 5/8" WIDE
6) 3/4" WIDE
7) 7/8" WIDE
B) l“ WIDE

9) l 1/2 WIDE
lO) 2" WIDE

LINE BLOCKS - 2 EACH
NYLON LINES - BRAIDED
CHALK LINE REEL

TUCK POINT CHISEL
MASONRY BRUSH

SPONGE FLOAT

RUBBER FLOAT

CARPET FLOAT

PLIER

TIE WIRE REEL

UTILITY KNIFE

HARD HAT

SAFETY GLASSES*

SAFETY TOE SHOES

18" OR 20" WIRE CUTTER
STONE MASON HAMMER
LUMBER CRAYON

EAR PLUGS OR PROTECTORS*

JOINTERS

1) 3/8" DIAMETER
2) 1/2" DIAMETER
3) 5/8" DIAMETER
4) 3/4" DIAMETER
5) V SLED & 1/2"

6)

99

RAKER

CONCAVE
CONCAVE
CONCAVE
CONCAVE
SLED CONCAVE

LINE STRETCHERS - 2 EACH
SMALL SQUARE

*SUPPLIED BY CONTRACTOR, TAKEN CARE OF BY MASON
[1993)

100

Exhibit “A-O”

ST|PULAT|ON

ln signing this Stipulation, the undersigned (emp|oyer) (employer
association of behalf of its members) agrees to be bound by all the terms
and provisions of the Agreement establishing procedures for the resolution
ofjurisdictiona| disputes in the construction industry known as the Plan for
the Sett|ement of Jurisdictiona| Dispute in the Construction lndustry. |n
particular, the undersigned agrees to abide by those provisions of the Plan
requiring compliance with the decision and awards of the Administrator,
Arbltrators of Nationa| Arbitration Pane|s established under the Plan and to
fulle the obligations of the employer set forth in the Agreement

This stipulation shall run for the term of the Agreement and shall continue in
effect for each year thereafter unless specifically terminated effective upon
the anniversary date of said Agreement in accordance with the notice
provisions contained in the Agreement The effective date of this stipulation
shall be September 1, 2008,

 

 

 

 

Authorlzed signature Contractor
Print Name Date
Title

101

EXHIBIT "B"

ASSIGNMENT OF WAGES TO COVER UNION DUES,
ASSESSMENTS, AND INITIATION FEES

TO:

 

Employer

I assign to Operative Plasterers and Cement Masons International
Association, Local #630, AFL-CIO, and Masons and Plasterers Fraternal Association
from any wages earned or to be earned by me as your employee and as a member of
the bargaining unit (in my present or in any future employment by you) such sums
as the said Local Union and Fraternal Association may certify as due and owing
from me as membership dues, fees and/or assessments, including an initiation or
reinstatement fee and monthly dues in such sum as may be established from time to
time by said Local Union in accordance with the Constitution of its International
Union. I authorize and direct you to deduct such amounts from my pay and to
remit same to the Union and Fraternal Association each month at such times and in
such manner as may be agreed upon between you and the Union and Fraternal
Association at any time while this authorization is in effect.

This assignment shall be irrevocable until one year from the date below, or
until the termination date of the applicable collective bargaining agreement
lwithin the meaning of the Labor Management Relations Act, 1947}, whichever
occurs sooner, and shall be automatically renewed and shall be irrevocable for
successive periods of one year or for the period of each succeeding applicable
collective bargaining agreement, whichever shall be shorter, unless at least ten
(10} days and not more than twenty (20i days before the expiration of each period
of one year, or of each applicable collective bargaining agreement, whichever
occurs sooner, I give written notice to the employer of my desire to revoke this
assignment, or unless the same shall be automatically cancelled as provided
below. This assignment is automatically cancelled when my employment ends or
when I cease to be employed in a capacity represented by the bargaining unit.

This authorization is made pursuant to the provisions of Section 302(c) of
the Labor Management Relations Act of 1947 and otherwise.

There shall be no obligation on the part of the employer to make any
deduction_ beyond the original tern\ of the collective bargaining agreement
existing at the date of this assignment, unless the agreement is extended or a
new agreement has been negotiated containing an authorization for Union
deductions as provided in the agreement existing at the date of this assignment.

Date

 

Employee's signature

Receipt of foregoing statement is acknowledged by:

 

Employer
Date By

102

EXHIBIT "B-l"

ASSIGNMENT OF WAGES TO COVER UNION DUES,
ASSESSMENTS, AND INITIATION FEES

TO:

 

Employer

I hereby assign to International Union of Bricklayers and Allied Craftworkers,
Local #1 of Hawaii, AFL~CIO, and Masons and Plasterers Fraternal Association from any
wages earned or to be earned by me as your employee and as a member of the bargaining unit
(in my present or in any future employment by you) such sums as the said Local Union and
Fraternal Association may certify as due and owing from me as membership dues, fees,
and/or assessments, including an initiation or reinstatement fee and monthly dues in such
sum as may be established from time to time by said Local Union in accordance with the
Constitution of its International Union. I authorize and direct you to deduct such
amounts from my pay and to remit same to the Union and Fraternal Aseociation each month at
such times and in such manner as may be agreed upon between you and the Union and
Fraternal Association at any time while this authorization is in effect.

This assignment shall be irrevocable until one year from the date below, or until
the termination date of the applicable collective bargaining agreement (within the meaning
of the Labor Management Relations Act, 1947), whichever occurs sooner, and shall be
automatically renewed and shall be irrevocable for successive periods of one year or for
the period of each succeeding applicable collective bargaining agreement, whichever shall
be shorter, unless at least ten days and not more than 20 days before the expiration of
each period of one year, or of each applicable collective bargaining agreement, whichever
occurs sooner, I give written notice to the employer of my desire to revoke this
assignment, or unless the same shall be automatically cancelled as provided below. This
assignment is automatically cancelled when my employment ends or when I cease to be
employed in a capacity represented by the bargaining unit.

This authorization is made pursuant to the provisions of Section 302(c) of the
Labor Management Relations Act of 1947 and otherwise.

There shall be no obligation on the part of the employer to make any deduction
beyond the original term of the collective

Assignment of Wages to Cover Union

Dues, Assessments, and Initiation Fees
Exhibit "B-l"
Page 2

bargaining agreement existing at the date of this assignment, unless the agreement is
extended or a new agreement has been

negotiated containing an authorization for Union deductions as provided in the agreement
existing at the date of this assignment.

Date

 

 

Employee's signature

Receipt of foregoing statement is acknowledged by:

 

Employer

Date n BY

 

103

EXHIBIT “B-Z"

NOTIFICATION OF LOANED EMPLOYEE AND ASSIGNMENT OF WAGES
TO COVER UNION DUES, ASSESSMENTS, AND INITIATION FEES

TO: Operative Plasterers and Cement Masons
International Association, Local #630
2251 N. School Street
Honolulu, Hawaii 96819

This is to notify you that

 

 

 

 

 

is on loan to me from as a
at a wage rate of $ per hour for the

period from to

Date Contractor

 

Signature of Contractor‘s Representative

 

IT SHALL BE THE RESPONSIBILITY OF THE CONTRACTOR UTILIZING LOANED OR BORROWED
PERSONNEL TO CONTRIBUTE TO THE VARIOUS MASONS’ AND/OR PLASTERERS’ TRUST FUNDS
IN ACCORDANCE WITH THE TERMS OF THE COLLECTIVE BARGAINING AGREEMENT. IT SHALL
ALSO BE THE RESPONSIBILITY OF SAID CONTRACTOR TO DEDUCT UNION DUES,
ASSESSMENTS, AND INITIATION FEES FROM THE WAGES OF LOANED OR BORROWED
PERSONNEL WHO SIGN THE ASSIGNMENT OF WAGE FORM AND TO TRANSMIT ALL MONIES
WITHHELD IN ACCORDANCE WITH THE TERMS OF THE COLLECTIVE BARGAINING AGREEMENT.

 

 

 

NOTE: The signature of the employee on this Assignment of Wage
forni constitutes said employee's acknowledgment of his
being on loan as specified above.

ABOVE INFORMATION CONFIRMED:

 

Signature of Authorized Union Rep.

 

Date

104

EXHIBIT "B-B"

NOTIFICATION OF LOANED EMPLOYEE AND ASSIGNMENT OF WAGES
TO COVER UNION DUES, ASSESSMENTS, AND INITIATION FEES

TO: International Union of Bricklayers and
Allied Craftworker, Local #l of Hawaii
2251 N. School Street
Honolulu, Hawaii 96819

This is to notify you that

 

is on loan to me from

 

 

 

 

 

as a
at a wage rate of $ per hour for the

period from to

Date Contractor

 

Signature of Contractor's Representative

 

TI' SHALL BE THE R.ESPONSIBII..I'I'Y OF THE CONTR.ACTOR UI'ILTZING LOA`NED OR BORROWED PERSONNE, 'l'O CON'I'RIBUTE TO THE VAR]OUS
MASONS' AND/OR PLASTERERS' TRUS'I` FUNDS IN ACCORDA`NCE WITH THE TERMS OF THE COLLECTIVE BARGAINING AGREMEN'I`. lT SHALL
ALSO BE THE RESPONSIBILI'I`Y OF SAID CON'I'RAC'I`OR TO DEDUCT UNION DUES, ASSESSMENTS, AND INTI'IA'I`ION FEES FROMTHE WAGES OF

LOANED OR BORROWED PERSONNEL WHO SIGN THE ASSIGN'MENT OF WAGE FORM AND TO TRANSMI'I` ALL MO`NIES WI’I'HHELD IN
ACCORDANCE WITH THE ’I'ERMS OF THE COLI.ECI'[VE BARGAI'NI'NG AGREEMEN’I`.

 

 

 

NOTE: The signature of the employee on this Assignment of Wage

form constitutes said employee‘s acknowledgment of his
being on loan as specified above.

ABOVE INFORMATION CONFIRMED:

 

Signature of Authorized Union Rep.

 

Date
105

EXHIBIT "C"
NOTICE OF QUITS, LAYOFFS, AND/OR TERMINATIONS

TO: International Union of Bricklayers
and Allied Craftworkers, Local #1 of Hawaii (AFL-CIO)and/or
Operative Plasterers and Cement Masons
International Association of the
United States and Canada, Local #630 (AFL-CIO)
2251 N. School Street
Honolulu, Hawaii 96819

Our collective bargaining agreement with you requires that we notify you on a
weekly basis of the names of employees covered by that Agreement who have quit,
been laid off, or been terminated during the previous work week. In accordance
with that provision, this is to officially notify you of the following:

 

 

 

Name of Employee Social Security Number

[ ] Laid Off Due to Lack of Work

[ ] Voluntary Quit

[ ] Discharged for Cause
Effective Date of Above:

We [ ] would [ ] would not rehire this employee.

 

 

 

 

 

Name of Employee Social Security Number

Laid Off Due to Lack of Work
Voluntary Quit
Discharged for Cause
Effective Date of Above:

[
[
[

x_¢\_ll.__l

 

 

 

We [ ] would [ ] would not rehire this employee.
Contractor
BY

 

 

PRINT: Name of Representative

Telephone no.:

 

Date:

 

106

EXHIBIT "D"

CONFIRMATION OF HIRING SLIP

 

TO:

 

Union

 

Address

This is to confirm that ,

 

 

 

 

 

(Name of Employee) (Social Secutirty No.)

Was hired by me on as a
(Date Hired) (Classification)
at a Wage rate of $ per hour, He/She is to report for
work
at on
(Job Location or Project) (Date)
at a.m.
(Starting Time)
Contractor

 

Signature of Contractor‘s Rep.

 

Date

ABOVE INFORMATION CONFIRMED BY:

 

Signature of Authorized Union Rep.

 

Date
107

EXHIBIT "E"

PHYSICAL QUALIFICATION QUESTIONNAIRE

 

LUUWE: S.S. ]HO.:

 

 

ZHIIRESS:

 

 

TELEPHCEUI NO.:

 

Date of and medical facility where you took your most recent
complete annual physical:

 

Name of physician who administered that examination:

 

 

I certify that l have not had any illness or injury since my last
complete annual physical examination which would affect my ability
to perform the work of my trade and job classification.

 

Signature

 

Date
PHYSICIAN'S EVALUATION
Applicant is:

A. Medically suitable for position.

B. Temporarily deferred:
Pending correction treatment of medical problem
Additional medical information required
_Further medical evaluation required

Re-evaluation for hire on completion of above.
C. Medically suitable for position with the following
limitations:
Temporary until

 

 

Permanent:

 

 

D. Medically unsuitable for position.

Date

 

 

Physician's signature
108

EXHIBIT "F"

CLASSIFICATION, EXAMINATION, AND RE-TRAINING

 

A. Employees shall be classified. as either .Journeyperson. or
Apprentices.

l. The classification of Journeyperson shall includes

(a) all employees who have been registered with and
dispatched by the employment office of the Union
and employed by a Contractor party to this
Agreement as a Journeyperson,

(b) all employees Who qualify as Journeyperson through
participation in the Joint Apprenticeship Training
Program, or who pass the basic qualification
examination for Journeyperson as hereinafter
provided, and

(c) all persons employed or seeking employment upon the
work covered by this Agreement who have qualified
as Journeyperson by reason of employment elsewhere
in the trades covered hereby.

2. The classification of Apprentice shall include all
persons enrolled and participating as such in the Joint
Apprenticeship Training Program.

B. All employees and applicants for employment who as of the date
of execution of this Agreement have previously been registered
and dispatched by the Union and employed by a Contractor party
to this Agreement shall be assigned to the classifications in
which they Were last so dispatched and employed. New
applicants for employment who have not previously been so
registered, dispatched, and employed shall be required to make
out applications for employment showing their qualifications
and experience before being permitted to register. They shall
be assigned classifications based strictly upon the basis of
the information disclosed in their applications and they shall
be permitted to register only in such classifications.

C. All classifications shall be determined in the first instance
by the Union Dispatcher as provided in Paragraph A hereof. Any
employee or applicant for employment who is dissatisfied with
the classification so assigned to him/her may apply to the
Joint Apprenticeship and Training Committee in writing for

109

Classifications, Examination, and Retraining
Exhibit "F"
Page 2

examination and review of his/her classification at its next
regular meeting, Said employee or applicant shall remain in
the previously-determined classification until such time as
he/she has been reclassified by the Committee.

D. Upon written request of the Union, any Contractor party to
this Agreement or of the Association, an employee or applicant
for employment must submit to an examination to be scheduled
by the Joint Apprenticeship and Training Committee. The Joint
Apprenticeship and Training Committee shall be empowered, upon
the basis of such examination, to reclassify the employee or
applicant for employment or to certify' him/her‘ as being
unqualified for employment in a phase or phases of the work of
his/her particular craft, The Joint Apprenticeship and
Training Committee shall also be enpowered to require any
employee whose name has been referred to it under this Exhibit
to enroll in the training program for training in any or all
phases of the trade in which he/she is found and certified as
being unqualified,

E. Whenever any employee whose name has been referred to the
Joint Apprenticeship and Training Committee under this
Exhibit, fails to report for examination or fails to obey any
order of the Committee to submit to training in any phase or
phases of the work of his/her particular craft in which it has
found and certified him/her to be unqualified for employment,
the Joint Apprenticeship and Training Committee may notify the
employment office of the Union and upon receipt of such notice
the employment office shall bar the employee from registering
for employment until such time it has been notified that
he/she has complied. Similarly, whenever the Joint
Apprenticeship and Training Committee has found. that any
employee or applicant for employment is unqualified in any
phase or phases of the trades covered hereunderp it may
certify him/her to the employment office of the Union as being
so unqualified and the employee or applicant for employment
shall not be entitled to be dispatched for employment to any
Contractor in such phase or phases of work.

110

Classification, Examination, and Retraining

Exhibit "F"
Page 3
F. All proceedings of the Joint Apprenticeship and Training

Committee shall be conducted fairly and impartially and
without regard to race, color, religion, sex, national origin,
age, physical handicap, or for being a disabled veteran or a
veteran of the Vietnam Era, or to membership or non-membership
in the Union or any other labor organization.

The Joint Apprenticeship and Training Committee shall
formulate and adopt uniform standards for selection,
examination, and classification of all employees and
applicants for employment referred to it. Said standards
shall comply with all requirements of Hawaii and Federal laws.

Any employee or applicant for employment who is aggrieved by
the application to himself/herself of any of the provisions Of
this Exhibit may submit his/her grievance to the Union
Executive Board. Such grievance must be submitted in writing
within ten working days of the proceeding giving rise thereto.
Failure to present the grievance shall be deemed a waiver of
remedy.

111

EXHIBIT "G"

SUPPLEMENTARY APPRENTICE EMPLOYMENT PROCEDURES

When a Joint Apprenticeship Committee has determined that its
approved process of selection will not meet the goals and
timetables prescribed in 29 CFR Part 30, 43 FR 20760 ff, May
12, 1978, or the requirement for additional women of the
Contractors it serves so they can meet their goals and
timetables prescribed in 41 CFR Chapter 60, Part 60-4, 43 FR
1488 ff, April 7, 1978, then said Joint Apprenticeship
Committee may supplement that selection process in the
following manner:

1. Maintain an open and continuous application period for
female applications.

2. Promptly process such applications in accordance with the
procedures and entrance qualification requirements of the
regular apprenticeship program.

3. Place applicants determined to be qualified into any
apprenticeship openings then available.

4. Refer qualified female applicants unplaced in the regular
apprenticeship program to participating employers for
employment as supplementary apprentices pending their
enrollment by the Joint Apprenticeship Committee in the
regular apprenticeship program. A Contractor may employ
such qualified supplementary apprentices not in excess of
the number required to achieve the goals and timetable
requirements of 41 CFR 60-4.

5. Time spent in the supplementary program must count the
same as time in the regular apprenticeship program for
attaining craft status.

6. Women who transfer from the supplementary program to the
regular program will have all time spent in the
supplementary program count towards attaining craft
status on the same basis as if the time had been spent in
the regular program.

112

Supplementary Apprentice Employment Procedures
Exhibit "G"
Page 2

7. Women who never transfer from the supplementary program
shall attain craft status upon completion of the same
time period as required under the regular program.

B. Apprentice wages are increased based upon total time
spent, regardless of whether it is in the regular or
supplementary program or a combination of both.

B. Supplementary apprentices shall be paid no less than a first
term apprentice in the `regular program and any earned
incremental increase as if enrolled in the regular program.
Supplementary apprentices shall be under the general
supervision and instruction of a competent craft worker.

C. Efforts should be made to recruit supplementary apprentices
from work` orientation, preparatory training and/or CETA
programs, The Joint .Apprenticeship Committee shall

continuously monitor and evaluate the supplementary
apprentices during their employment and shall afford them
priority consideration for available apprentice openings in
the regular program consistent with the Joint Apprenticeship
Committee's responsibility for maintaining a proper program.
Such openings shall be offered in the chronological order in
which first employed- as a supplementary Exhibit "G"
apprentice. Supplementary apprentices shall be registered by
the registration agency in the same manner that apprentices in
the regular program are registered and shall be certified for
Davis-Bacon purposes as bona fide registered apprentices.

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TO:

EXHIBIT "H"

NOTIFICATION REGARDING GOVERNMENT “DAVIS-BACON" PROJECT

International Union of Bricklayers and Allied
Craftworkers, Local #1 of Hawaii, AFL-CIO

and/or

Operative Plasterers & Cement Masons
International Association of the United States
and Canada, Local #630, AFL-CIO

2251 N. School Street

Honolulu, Hawaii 96819

This is to advise you that we have been awarded the following
government "DAVIS-BACON" project:

A.

 

Name of Project

 

Location of Project

 

Name of Government Contracting Agency

 

 

E.
Date Project was Bid Amount of Contract Award
Journeyperson Masons_ $ per hour
Journeyperson Cement Finisher $ per hour
Trowel Machine Operator $0.15 per hour above applicable

Journeyperson rate

Working Foreperson $1. 00 per hour above applicable
Journeyperson rate

Foreperson* $2.00 per hour above applicable
Journeyperson-rate

Apprentice At the applicable percentage rate
on above-specified Journeyperson
rate

*Shall also work with the tools of his trade as required by the Contractor.

114

Notification Regarding Government "Davis-Bacon" Project
Exhibit "H"
Page 2

E. Contractor contributions to the various Trust and other Funds
shall be in the regular amounts as specified in the collective
bargaining agreement and. shall include any' increased. rates of
contribution as may be effective after the project was bid.

F. A copy of this notice shall be posted on our company bulletin
board or shall otherwise be distributed to our employees
approximately two weeks prior to the actual commencement of work on
this project.

 

Contractor

 

Authorized Representative

 

Print Name of Authorized Rep.
Date
Distribution

l copy to Union

l copy to Mason Contractors Association of Hawaii (MCAH)
1 copy to be retained by Contractor

115

EXHIBIT "I"

SATURDAYS AS A STRAIGHT TIME "MAKE-UP" DAY AND/OR
WORKWEEK OF OTHER THAN FIVE B-HOUR DAYS AND/OR
NIGHTWORK

This notification is for informational purposes only {monitoring and
recordkeeping) it being specifically understood that advance approval by the
Union of the scheduling listed below is not required. HOWEVER, the Union would

appreciate an advance "courtesy call" whenever it is possible for the Contractor
to do so.

TO: Local #630 O.P.C.M.I.A.`

Local #1 I.U.B.A.C. Date of Submittal
2251 N. School Street

Honolulu, Hawaii 96819

 

This is to advise you:

A. Saturday "Make-Up" Day (Applicable ONLY on PRIVATE Projects)

[ ] that Saturday, (date), was scheduled as a
straight time make-up day on the following project(s):

 

Name and Location of Project

 

Name and Location of Project

 

Name and Location of Project

B. Workweek of Other than Five B-hour Days (Applicable ONLY on
PRIVATE Projects)

] that a workweek of four consecutive lO~hours days
l Monday through Thursday; [ ] Tuesday through Friday)
has been scheduled on the following project:

l
[

 

Name and Location of Project

l ] that a workweek of four 9-hour days, Monday through Thursday, plus
four hours on Friday has been scheduled on the following project:

 

Name and Location of Project
C. Nightwork {Applicable to Government as well as Private Projects)

[ ] that nightwork, with a scheduled starting time of
and a scheduled quitting time of has been

116

Saturdays as a Straight Time "Make-Up" Day and/or
workweek of Other than Five B-Hour Days and/or
Nightwork,

Exhibit “I”

Page 2

scheduled for the following period .on the
following project:

 

Name and Location of Project

 

Contractor

 

Signature of Contractor‘s Rep.

 

PRINT name of above Rep.

 

Telephone number

117

EXHIBIT "J"

NOTIFICATION TO UNION AND TO EMPLOYEES REGARDING
“SWITCHING“ AND,*'OR SUBSTITUTION OF HOLIDAYS

This notification MUST be given to the Union and to the employees
affected at least five working days BEFORE the effective date of
any l'switch" and/or substitution of holidays.

TO: Local #630 O.P.C.M.I.A.
Local #1 I.U.B.A.C. Date of Submittal

2251 N. School Street
Honolulu, Hawaii 96819

 

This is to advise you:

A. Switching of Kamehameha Day, Fourth of July, or Thanksgiving
Day (Applicable ONLY on PRIVATE and FEDERAL Projects)

l ] That the project(s) listed below will work on
(name of Holiday) at

regular straight time rates of pay. Said holiday will
instead be observed on [ ] Monday [ ] Friday,
(date), with any work performed on

that substitute day to be paid for at one-and-one-half
times the employee‘s regular straight time rates of pay.

 

 

 

Name and Location of Project

 

Name and Location of Project

 

Name and Location of Project

 

 

B. Substitution of the Date After Thanksgiving as a Holiday in
Place of Veteran's Day (Applicable ONLY on PRIVATE and FEDERAL
Projects)

[ ] That the project(s} listed below will work on
(day and date), Veterans‘ Day, at

regular straight time rates of pay.
118

 

Notification to Union and to Employees Regarding
"Switching" and/or Substitution of Holidays

Exhibit "J"

Page 2

The 'Veterans' Day' holiday' will instead. be observed. on
Friday, November (day after Thanksgiving), with any
work performed on said day after Thanksgiving to be paid
for at one-and-one~half times the employees‘ regular
straight time rates of pay.

 

Name and Location of Project

 

Name and Location of Project

 

Contractor

 

Signature of Contractor's Rep.

 

PRINT name of above Rep.

 

Telephone number

119

EXHIBIT "K"

NOTIFICATION TO EMPLOYEES OF FAILURE OF EMPLOYER TO MAKE
PAYMENT OF CONTRIBUTIONS ON THEIR BEHALF UNDER SECTION 14.1.4.

 

Date
From: Local #630 O.P.C.M.I.A.
Local #1 I.U.B.A.C.
2251 N. School Street
Honolulu, Hawaii 96819
This is to advise you that as of
(Date) (Employer)

has been listed as being

 

delinquent in the transmittal of contributions on your behalf to

the

 

(Union)

and/or

 

(Trust Fund)

 

Business Manager

120

EXHIBIT "L"

CERTIFICATION OR RECEIPT AND ACCEPTANCE OF
MASTER AGREEMENT COVERING THE CEMENT FINISHING
AND MASONRY TRADES IN THE STATE OF HAWAII

THE UNDERSIGNED CONTRACTOR hereby acknowledges receipt of the Agreement COVERING THE CEMENT
FINISHING AND MASONRY TRADES IN THE STATE OF HAWAII as effective to and including August 31,
2014, and hereby certifies acceptance of all terms and conditions as set forth therein, with
all terms and conditions to be effective as of 19

l

 

From and after the date hereinabove set forth, the undersigned Contractor agrees to abide by
all terms and conditions in said Agreement and any amendments, modifications, changes,
extensions, and renewals thereto. Any such amendments, modifications, changes, extensions,
and renewals made to the Agreement hereafter shall become effective and shall remain in full
force and effect only upon execution by the Union and the Association of an appropriate
written document, a copy of which (or other notice of such changes) shall be mailed to the
Contractor's last known address.

INTERNATIONAL UNION OF BRICK~

LAYERS & ALLIED

CRAFTWORKERS LOCAL NO. 1 Contractor
OF HAWAII, AFL-CIO

 

 

 

 

BY
Its Business Manager Authorized Signature
OPERATIVE PLASTERERS' & CEMENT
MASONS' INTERNATIONAL ASSOCIATION Date cf Signature
OF THE UNITED STATES AND CANADA, Street Address of Above Contractor
LOCAL 630,
AFL - CIO

 

 

Zip Code

 

Its Business Manager
Mailing Address of Above Contractor

Contractor to sign 5 copies and mail
(or deliver) all 5 copies to:

 

 

Bricklayers and Cement Masons Unions Zip Code
2251 North School Street
Honolulu, Hawaii 96819 Telephone Number

 

The Union, in turn, will counter-sign
All 5 copies and distribute them as
follows:

 

State of Hawaii Contractor's License

No.Copy #1 - To Pacific Administrators, Inc.
1440 Kapiolani Blvd., Ste. 800
Honolulu, Hawaii 96814
Copy #2 - Mason Contractors Association of Hawaii (MCAH)
Copy #3 ~ To Contractor
Copy #4 - To be retained by Bricklayers Union
Copy #S ~ To be retained by Cement Masons Union

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ADDENDUM 1

AGREEMENT COVERING DRUGS AND OTHER CONTROLLED
SUBSTANCE ON CONSTRUCTION JOB SITES IN THE STATE OF HAWAII

W l T N E S S E T H

 

WHEREAS, the Union and the Company recognize that drug and
alcohol abuse is a problem that affects many employees, and wish to
address this problem;

WHEREAS, especially in the construction industry, an employee
who is under the influence of illegal drugs or alcohol while at the
workplace is a danger not only to himself or herself but to his or
her fellow employees;

WHEREAS, the Union and the Company wish to make the workplace
a better and safer place of employment by eliminating the danger
that such employees create by being under the influence of drugs or
alcohol at the workplace;

WHEREAS, such employees who are under the influence of drugs
or alcohol have lower productivity than employees who are drug and
alcohol free;

WHEREAS, the Union and the Company wish to have employees
working at normal capacity, doing an honest day's work for an
honest day’s pay;

WHEREAS, the Union and the Company wish to comply with the
Federal Law known as the ‘Drug-Free Workplace Act of 1988,” public
Law 100-690 in order to obtain a drug-free workplace.

A. Prohibition Against Alcohol and Controlled Substances At the
Workplace

1. Every employee who is employed by the Company and is
Covered by the Master Agreement is prohibited unlawfully
manufacturing, distributing, dispensing, possessing, using
or being under the influence of a controlled substance

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at the Company's workplace. Any employee who violates this
prohibition shall be subject to immediate removal from the
aforesaid workplace, as well as other disciplinary action,
including discharge .

Use of Over-The~Counter Medications or Medications

 

Prescribed by a Licensed Physician

 

Use of over-the-counter medications or of a
medications prescribed by a licensed physician in
accordance with the physician's orders, in NOT
prohibited; but to avoid an unwarranted accusation
and/or other misunderstanding, the employee is
required to report the fact that he/she is taking
such medication to his her Foreperson and/or Super-
visor, prior to commencing work at the Workplace.

Any employee who is lawfully using controlled
substance at the workplace, i.e., taking prescription
drugs in accordance with a doctor’s order, while not
subject to disciplinary action, may nevertheless be
required to leave the workplace, if consumption of
that medication presents a safety hazard or prevents
him/her from being able to properly perform his/her
work.

C. Education and Awareness Program. To complement and

 

foster our Joint Company and Union Policy and Program
of achieving a drug-free workplace and alcohol-free
workplace, the Company and the Union shall establish
and implement a Drug Education and Awareness Program
which shall include the following:

1 .

Dissemination of information to employees at least
twice a year regarding the dangers of drugs in the
workplace, the Company policy of maintaining a
drug-free workplace; the penalties that may be
imposed for drug or alcohol abuse violations; and
any available substance counseling programs and
services, substance abuse rehabilitation programs,
employee assistance programs, and other community
services that are available to those who have drug

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or alcohol problem.

In connection with the above, employees will be
encouraged to seek counseling and other assistance
from these agencies on a self~referral basis if
they feel they have a need for it. An employee
who voluntarily seeks help and undergoes treatment
for drug or alcohol abuse prior to being required
to undergo testing will NOT be subject to
disciplinary action because of admitted substance
abuse, provided he or she thereafter remains drug
or alcohol free after commencing treatment. Failure
to remain drug or alcohol free shall be considered
as the employee's First Offence and subject the
employee to the actions set forth under paragraph
G.l (a), below.

2. Top Management and Supervisory employees will also
Be trained to assist in identifying and addressing
the matter of unlawful use of alcohol or of a
controlled substance by employees, including the
making of referrals to appropriate agencies.

Pre-Employment Testing

1. Effective thirty (30) days after ratification of
the Master Agreement, all current employees on the
Contractors’ payroll will not be required to
undergo a pre-employment substance abuse test.
However, an employee/applicant who has been laid
off for thirty (30) calendar days or more or a new
employee will be required to undergo a pre-employ-
ment substance abuse test as a condition of
consideration of employment with the Company or
prior to being approved to work at any Company
facility or work area,

2. Pre-employment testing must be in place and such
testing must actually be conducted before the
Company can conduct Periodic and Random Testing.
E. Additional Consideration Applicable to Companies

Regulated by the U.S. Department of Transportation

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In the event the Company is required to comply with the
U.S. Department of Transportation regulations regarding
workplace drug testing programs, the Company and the
Union agree to comply with those regulations. lt is
Understood and agreed that compliance with the U.S.
Department of Transportation regulations shall include:

Pre-employment and post-accident testing of applicants
and employees subject to U.S. Department of
Transportation regulation;

Appointment of Medical Review Officer who will be
responsible for making the final decision to verify a
positive test result after review of all relevant data
on the testing and any explanations offered individual
tested;

Prohibiting employees who are subject to U.S. Department
of Transportation regulation and who have tested
positive from returning to work unless they are released
to return to work by the Medical Review Officer;

Requiring employees who are subject to U.S. Department
of Transportation regulation and who have tested positive
to undergo increased, unannounced testing for up to

sixty (60) months; and

Retention of all positive test results for (five) 5 years
and retention of all negative results for (twelve) 12
months.
“Immediate Removal From Job/Substance Abuse
Testing/Substance Abuse On-Site Screening Test”.

 

 

l. The Company shall have the authority to immediately
remove any employee from the workplace and to require
that employee to immediate undergo, at Company expense,
drug or alcohol testing, in the manner set forth below,
under the following circumstances:

a. For Cause. When a reasonable, objective basis
exists to believe that an employee had engaged in
the unlawful use of or is under the influence of a
controlled substance of alcohol at the workplace

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(b)

as evidenced by such factor as, but not limited to
the following:

(i) Unsafe work habits or practices that endanger
the employee himself/herself and/or other

Employees;
(ii) Abnormal work performance;
(iii) Physical conditions and/or symptoms, such

as unstable balance, alcohol on breath,
Glassy or reddened eyes;

(iv) Frequent or unexplained absence from the
Workplace or job site during the
employee's shift;

(v) Abnormal personal behavior and/or poor
Interpersonal relations on the job;

(vi) Discovery of controlled substance,
alcohol, or controlled substances para-
phernalia at the work area or on the job
site, in the possession of or immediate
proximity of an employee; and/or

(vii) Objective evidence of unlawful us of a
controlled substance as provided by any
Federal, State, or Local enforcement
agency.

In utilizing the foregoing criteria of a
“reasonable, objective basis,” the parties hereto
expressly agree that the Federal or State
Constitution law standards of “probable cause” or
“reasonable suspicion” are not applicable.

The Contractor shall complete the attached form
(Appendix B) prior to sending an employee to be
tested for Cause.

Periodic Testing. Periodic, routine or inter-
mittent testing shall be conducted at different
intervals for all employees on the project to
determine the use of any illegal or unauthorized

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drug, alcohol or other substances prohibited by
this policy.

Post-counseling/rehabilitation or return-to-work
medical examinations may be required when an
employee returns to work after a long illness,
disabling injury, extended reinstatement upon
completion of a drug and alcohol treatment or
counseling program.

As part of an annual physical, the Company may
require testing for those employees who are
required to undergo medical examinations due to
regulatory requirements of local, state or federal
agencies (DOT, ICC, DOD, etc.).

(c) Random Testing. Random testing may be used at any
time.

Workplace testing may be altered or changed
Whenever the employees' activities are regulated
by either the Department of Transportation,
Department of Defense or by contract with any
other branch of government or private industry.

Random testing selection will be done on a fair
and impartial basis as mutually agreed upon by
the other parties.

Urine samples Will be taken only under the direction of
a licensed physician designated by a Company-designated
medical laboratory and the “Procedures For Medical
Tests of Urine Samples” as set forth in Appendix “A” as
Attached hereto shall be followed.

In addition, physicians and health care professionals
who provide testing services for controlled substance
and alcohol impairment shall adhere to the Code of
Ethical Conduct For Physicians Providing Occupational
Medical Services as adopted by the American
Occupational Medical Association on July 23, 1976, as
Well as to the “Drug Screening In The Workplace Ethical
Guidelines” as adopted by the same organization on July
25, 1986.

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Refusal to sign an authorization to submit to a drug,
controlled substance, or alcohol test, the refusal to
undergo such a test, or the refusal to permit the
physician or medical laboratory to provide the test
results to the Company and Union shall constitute an
act of insubordination. This aforesaid insubordination
shall be just and proper cause for discipline,
including discharge. The penalty for this aforesaid
insubordination shall be: (a) a two (2) week suspension
from work without pay and without fringed benefits
accruing, for the first act of this aforesaid
insubordination; (b) a four (4) week suspension from
work without pay and without fringed benefit accruing
for the second act of this aforesaid insubordination;
and (c) discharge from employment for the third act of
his aforesaid insubordination.

An employee shall complete the “Consent For The Release
of Confidential Information” form as set forth in
Appendix “C” prior to undergoing a substance abuse
test. When an employee is tested, the employee, the
Company and the Union shall be notified of the test
results. Action against the employee shall be taken in
accord with the disciplinary section herein if the
employee's drug or alcohol test results are positive,
as defined in Appendix “A” hereto.

The medical laboratory shall retain all positive
Specimens, in a frozen state, for twelve (12) months;
all negative specimens for two (2) weeks. An employee
shall have the right to have his or her sample as
originally collected independently retested at his/her
expense by a NIDA-certified laboratory. The employee
must exercise this right within fourteen (14} days from
the time of the original sample collection and the
employee must select a laboratory among those listed in
Appendix “D” to conduct such retesting. If the
independent drug or alcohol retest results are not
positive under the criteria set forth in Appendix “A”:
(a) the employee shall be put back to work immediately
with reimbursement of full pay and benefit s and with a
rescission of any discipline imposed by reason of a
positive drug or alcohol test result, along with an

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explanation for such rescission, and (b) the Company
shall also reimburse the employee for the cost of the
retest as paid for by the employee.

Where the employee believes that the positive test
result is not due to unlawful use of alcohol or a
controlled substance, but due to exposure to a workplace
substance, or that the accuracy of the test result was
confounded by a workplace substance, he/she

shall have the right, at the Employee's expense to have
an independent laboratory designated by the Company
evaluate the specimen by mass spectrometry or other
state-of-the-art technology provided the employee
immediately on the same day notified of the positive drug
screen result, retest the specimen, but in no case later
than the following morning after so notified. lf the
evaluation indicates that the positive test result was
due to a workplace substance, or that a workplace
substance confounded the accuracy of the test: (a) the
employee will be put back to work immediately with full
back pay and benefits, but only for that particular day
and on no case to exceed 8 hours, and with a rescission
of any discipline imposed along with an explanation for
such rescission; and (b) the Company shall take immediate
steps to insure that employees are not exposed to such
substances at levels that may produce or cause such
positive test results, or that may cause material
impairment of health or functional capacity.

 

 

 

An employee who tests positive and is later allowed to
return to work pursuant to paragraphs G.l (a) or (b),
below, shall be subject to announced testing by the
Company until two (2) subsequent consecutive tests of
this nature are negative. Such tests shall be
conducted within twelve (12) months after the employee
returns to work, and in any event shall cease after the
expiration of the aforesaid time period.

Provided the requirements of paragraph D.2 of this
Agreement have been met, the Company shall have the
authority to perform a substance abuse on-site
screening test for the reasons set forth in paragraphs
D.l and F.l(a)-(c) of this Agreement. The substance
abuse on-site screening test shall be conducted in

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accordance with the requirements of Section 329B-

5.5, H.R.S. and this Agreement, including the
following: (a) the test shall be administered
according to the package insert that accompanies the
substance abuse on-site screening test; (b) the
operator who administers the substance abuse on-site
screening test shall be trained in the use and
administering of the on-site screening test by the
manufacturer of the on-site screening test of the
manufacturer’s designee; (c) any information concerning
the substance abuse on-site screening test shall be
strictly confidential and shall not be released to
anyone without the informed written consent of the
individual tested and shall not be released or made
public upon subpoena or any other method of discovery,
except that information relating to a positive on-site
screening test result can be disclosed to the
individual tested, the laboratory to which the
individual is referred or as otherwise provided in
329B-5.5(5); (d) prior to the collection of any

sample for substance abuse testing, the individual to
be tested shall receive a written statement of the
specific substances to be tested for, and no testing
may be conducted for any substance not included on the
written statement.

No adverse action may be taken against the employee or
prospective employee who has a positive on-site
substance abuse test unless the requirements of Section
329B-5.5, H.R.S., and this Agreement have been met by
the company, If an employee or prospective employee

has a positive screening result and the Company decides
to require a substance abuse test pursuant to Section
329B-5 and this Agreement, the employee or prospective
employee shall be transported by the Company to the
test location within four (4) hours after obtaining the
positive screening test result. The substance abuse
test shall be covered by provision of this Agreement,
including all provisions concerning the effects of a
negative test.

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Agreement Reached on (Date)

No employee or prospective employee shall be required to
submit to an on-site screening test of a type that has not
been approved by the Union. Paragraph F.4. shall apply to an
employee or prospective employee who has been selected to
undergo a substance abuse on-site screening test;

provided that if the referral for a substance abuse

test is the result of an on-site screening test, an
employee or prospective employee who refuses to report

to the substance abuse test or fails to report to the
substance abuse test shall be given a written notice

that : (a) at the time of the substance abuse on-site
screening test, the employer followed the procedures

under Section 329B-5.5; (b) the employee or prospective
employee was informed that the employee or prospective
employee refuses or fails to submit to the substance

abuse test, the employer may take adverse action

against the employee or prospective employee.

October 28, 2008

 

INTERNATIONAL UNION OF MASON CONTRACTORS ASSOCIATION
BRICKLAYERS & ALLIED CRAFTSMEN OF HAWAII
LOCAL #1 OF AII, AFL~CIO

By:/YH£§- /Vz*¢£r By: ;§;;¢-`, igl_l»¢;*

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Business Manager Its Lblia)f i~i§/\vi;l'»oli¢i¢a Cii»ii,-m
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OPERATIVE PLASTERERS & CEMENT
MASONS INTERNATIONAL ASSOCIATION
OF THE UNITED STATES AND CANADA,
LOCAL #630, AFL-CIO

By: /ZV€;~»;”§:`/zb»dw*¢;'

Its

Business Manager

 

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Schedule Of Disciplinary Action

 

The manufacture, distribution, dispensation, possession, use
of, or being under the influence of alcohol or a controlled
substance by an employee, the manufacture, distribution,
dispensation, possession or use of the paraphernalia of a
controlled substance by an employee, or the attempt to engage
in any of the foregoing by an employee, is prohibited at the
company's workplace. The violation of this aforesaid
prohibition by an employee shall constitute just and proper
cause for discipline , including but not limited to discharge,
as defined in the Master Agreement, and as specified in this
Addendum to the Master Agreement. In the event the employee
engages in a separate act of misconduct, in addition to the
violation of this policy, (such as insubordination, fighting,
etc.) or engages in conduct which results in physical injury
or property damage, the employee may also be disciplined for
such conduct or misconduct in addition to discipline for the
drug or alcohol offense. Such discipline shall be in accord
with principles of just and proper cause.

1. The following disciplinary actions shall be taken
against an employee whose drug or alcohol test has a
positive reading, as defined in Appendix “A” hereto, or
who is guilty of using or being under the influence of
a controlled substance or alcohol at the workplace, and
hereinafter collectively referred to as an offense:

(a) First Offense

(i) Employee Option 1 - The employee shall be
afforded the opportunity to enroll in a
substance abuse assistance or rehabilita-
tion program, his or her status as an
employee will not be affected and he/she will
be allowed to return to work and continue to
work as long as he/she remains drug free as
indicated by a negative drug or alcohol test
result. The employee shall pay for the cost
of the follow-up drug test.

 

 

 

(ii) Employee Option 2 - A first offense employee
who does not choose to enroll in a substance

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abuse assistance or rehabilitation program
shall be suspended for the length of time it
takes to obtain a negative reading from a
subsequent drug or alcohol test but in any
case, no less than two (2) - week suspension.
The employee must make arrangements with his
or her Company prior to undergoing drug or
alcohol retesting. Should a subsequent drug
or alcohol test fail to produce a negative within
three (3) months after the first offense, the
employee shall be considered as having committed
his or her second offense. The employee shall pay
for the cost of the follow-up drug test.

 

(b) Second Offense - A suspension from work for the
time it takes to obtain a negative reading from
any subsequent drug or alcohol test but in any
case, no less than a four (4) week suspension from
work. The employee must arrangements with his or
her Company prior to undergoing drug or alcohol
retesting. Should a subsequent test fail to
produce a negative reading within two (2) months
after the beginning of such suspension, then the
employee will be discharged and will not be
eligible for re-employment by the Company until
such time as the physician or medical laboratory
that conducted the original test submits
verification of a negative reading having been
obtained from said person.

(c) Third Offense - Any employee who tests positive
for the third time will be discharged and will not
be eligible for re-employment by the Company for a
period of three years, unless the employee can
establish through objective evidence that he or
she is no longer a current alcohol or drug abuser
whose current use of alcohol or drugs prevents
such individual from doing his or her job, or
would constitute a threat to property or the
safety of others.

For purposed of administering this paragraph G
(Schedule of Disciplinary actions), offenses shall be
cumulative on Company Wide basis. For Example: An

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employee commits an offense while employed on job A.
Said employee is subsequently employed on Job B where
he/she commits another offense. That offense shall be
considered as his/her second offense.

Selling Of Controlled Substances

1. An employee who sells or attempts to sell a controlled
substance and/or the paraphernalia of a controlled
substance at the Company's workplace shall be
immediately discharged from employment. In addition,
any employee who engages in such conduct and is
discharged for the same, shall not be eligible for re-
employment by the Company.

2. At the Employer’s option, any such incidents shall also
be reported to appropriate enforcement agencies.

 

Additional Considerations Applicable To Work On Federal
Construction Projects

 

The following additional provisions shall apply only to
employees who are employed by the Company on a work project
that constitutes a procurement by the Federal Government or
a Federal Agency of any property or services of a value of
twenty-five thousand dollars ($25,000.00) or more.

1. As a condition of employment, any employee convicted of
a violation of a criminal drug statute for a violation
occurring in the workplace must, as required by the
Federal Drug-Free Workplace Act, notify the Company
within five (5) days of that conviction. Failure to do
so will subject the employee to disciplinary action,
including discharge.

2. As required by the Federal Drug-Free Workplace Act, any
employee who is convicted of a violation of a criminal
drug statute occurring in the workplace shall be
disciplined by the Company or shall be required by the
Company to participate in an approved drug abuse
assistance or rehabilitation program.

3. As required by the Federal Drug-Free Workplace Act, the
Company must and will notify any Federal Contracting
Agency on whose projects it is working of a workplace

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drug conviction within then (10) days after receiving
notice from the convicted employee or other official
source of such conviction.

4. In compliance with the U.S. Department Of Defense Drug
Free Workplace Clause (September 1988), any employee
who has been granted access to secret or classified
information ~ or whose position and work involves
national security, health, or safety and/or a high
degree of trust and confidence - will, at Company
expense, be subject to testing for the unlawful use of
controlled substances and alcohol.

5. The Company shall not engage in the unlawful
manufacture, distribution, dispensation, possession, or
use of a controlled substance in the performance of any
work or contract.

Controlled Substance

 

For purposed of this Addendum to the Master Agreement, a
“controlled substance” is defined as: any drug listed in
schedule I to V of the Controlled Substances Act, at Section
202 thereof, 21 U.S.C., Section 812. These controlled
substance include, but are not limited to, marijuana,
cocaine, opiates, amphetamines and phencyclidine.

Application of Grievance Procedures And Arbitration
Provisions

 

Grievances of employees covered by the Master Agreement
involving the application of the terms and conditions of
employment set forth herein shall be subject to the
Grievance Procedure And Arbitration Provisions as set forth
in the Master Agreement, with the results thereof being
final and binding.

Inclusion of Substance Abuse Treatment Benefits Under The
Health & Welfare Plan

 

 

If not already included, the parties hereto will recommend
to the Trustees that substance abuse treatment benefits be
included under the jointly administered Health & Welfare
Plan, created under Section 302 of the Taft-Hartley Act. §§

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N.

is understood and agreed that neither the Contractor nor the
Association shall be responsible for paying for substance
abuse treatment if such treatment is not a Health & Welfare
benefit.

Apprenticeship Requirements

The parties hereto will also recommend that the passage of a
drug test for unlawful use of controlled substances be a part
of the eligibility requirements for entry into and indenture
under the Apprenticeship Program maintained by the Company and
the union pursuant to a trust fund created under Section 302
of the Taft-Hartley Act.

Disclosure Of Information

1. The Company and the Union shall be required to disclose
to one another any and all information in their
possession that is necessary to enforce this Addendum
to the labor Agreement. The foregoing duty to disclose
information is included herein in order for the Company
and the Union to comply with their respective duties to
bargain in good faith under Sections 8 (a) (5) and 8
(b) (3) respectively of the National Labor Relations
Act, as amended.

2. The records maintained by the Company for its employee
assistance program are confidential and protected by
federal law and regulations. The Company cannot
disclose information identifying an employee as a
participant in its program except in the following
limited circumstances:

(a) The employee-participants consent to the
disclosure in writing as set forth in Appendix “E”
attached hereto and made a part of;

(b) The disclosure is required by a court order;

(c) The information is necessary to meet a medical
emergency involving the employee-participant; or

(d) The information is required by qualified personnel
for research, audit or program evaluation.

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The Company and the Union will provide each employee
who participates in the employee assistance program
with a written summary as requested, of the federal law
and regulations governing disclosure as set forth in
Appendix “F” attached hereto and made a part hereof.

An employee's participation in the employee assistance
program will not prohibit the Company and/or employee
assistance program provider from reporting any crimes
committed by the employee-participant either at the
program or from reporting any threats to commit such
crimes, to the appropriate federal, state or local
authorities.

An employee's participation in the employee assistance
program will not prohibit the company and/or employee
assistance plan provider from reporting any information
about suspected child abuse or neglect under state law
to the appropriate state or local authorities.

Additional Definitions

 

As utilized herein, the following terms have the following
meanings:

1.

The term “conviction” means the finding of guilt
(including a plea of nolo conterde or no contest) or
imposition of sentence, or both, by any judicial body
charged with the responsibility to determine violations
of Federal of State criminal drug statues;

The term “criminal” drug statute” means a criminal
statute involving manufacture, distribution,
dispensation, use, or possession of any controlled
Substance;

The term “Federal Agency' means an agency as the term
is defined in Section 552 (f) of Title 5, United States
Code;

The terms “unlawful use of a controlled substance,”
“illegal use of a controlled substance,” or “illegal
use of drugs” means the use, consumption or ingestion
of any controlled substance under any circumstances
except when directed by a physician or dentist;

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5. The term “workplace” means any site for the performance
of the work of the Company or any location where the
employee may be paid~during Company time or when the
employee is under the care, control, and custody of the
Company; and

6. The tern “drug” or “drugs” mean a controlled substance
As defined herein.

Entire Agreement
This document contains the entire agreement and no other

substance abuse testing shall be allowed unless by mutual
written agreement between the parties.

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APPENDIX A

PROCEDURES FOR MEDICAL TESTS OF UWINRE SAMPLES

Subject to the restrictions on medical test contained in the
foregoing Amendment to the Master Agreement, urine samples shall
be handled in the following manner:

A.

Collection shall be by a physician, company trained employee
or designated consultant or health care professional. The
presense or a Union Representative is not necessary when the
collection of urine is made. Specimen containers shall be
labeled with a number, and if the donor chooses, the donor's
signature, and shall be closed with a tamper-proof seal
initialed by the donor and collecting agent. The labeling
shall be done in the employee's presence and in the presence
of a Union Representative if the employee chooses.

 

The specimen number and identifying information on the donor
shall be entered on a log and signed by the collecting
technician in the presence of the employee - and in the
presence of a Union representative if the employee chooses ~
and the employee shall initial the proper line on the log
entry.

The volume of each sample shall be such that sufficient
amounts of urine will exist for both initial tests,
confirmation tests and independent testing.

Sample shall be stored in a scientifically acceptable
manner,

All handlers and couriers of the sample must complete
entries and identify themselves on a proper chain of
custody form.

Confirmation tests in accordance with the Guidelines as
established by the National Institute On Drug Abuse (NIDA)
must be performed. After testing and confirmation testing,
facility must retain a sufficient portion of the sample for
independent retesting and store that portion in a
scientifically acceptable, preserved manner for the period
of time as set forth in the guidelines as issued from time
to time by the National Institute On Drug Abuse (NIDA) -
unless the donor/employee or the Union requests of the
facility that it retain the sample for a longer period of
time.

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G.

Results of the testing shall be communicated in writing

to the Company, Union and the donor/employee within seventy-
two (72) hours after the results are determined. The
laboratory may only report a positive drug or alcohol test
result if the appropriate test indicates that the specimen
contains levels of drugs or alcohol in excess of the
following levels:

1. Blood alcohol level in excess of the State of Hawaii
Standard giving rise to a legal presumption of
intoxication.

2. Drug levels in excess of those levels as set forth in

The Guidelines as established by the National Institute
On Drug Abuse (NIDA).

Information on test results and the fact that testing was
done shall be kept confidential by the Company, Union, and
tester, and shall be communicated only who those who must
know the information in order to ensure safety at the
workplace and enforce the terms and conditions set forth in
the foregoing Amendment to the Master Agreement. Copies of
all documents - including but not limited to test results,
computer printouts, graphs, interpretations, and chain of
custody forms shall - be delivered to the employee from whom
the samples of the bodily fluids wefe taken.

On the day that the sample is taken when tested For Cause,
the Contractor shall send the employee home for the
remainder of the day, and shall arrange transportation home
for that employee and not allowed the employee to drive
hgmg. The employee shall not be allowed to return to work
until his or her test results are known.

 

 

A utilized herein, the terms “drugs” or “drug” means a
controlled substance as defined in the foregoing Addendum to
the Master Agreement. As utilized herein, the term
“alcohol” has the same meaning that is set forth in the
foregoing Addendum to the Master Agreement.

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APPENDIX B

SUBSTANCE ABUSE TESTING

 

TYPE:

LOCATION
CODE:

SUBSTANCE ABUSE TESTING

 

 

 

TO: DATE:
PosITIoN= DEPT/PRoJEcT=
1. As an employee, you are ordered to be tested for

substance abuse in accordance with Company policy and
Procedures, based in reasonable suspicion.

2. An appointment has been made for you to be tested at:
Date:
Time:

3. You will be escorted to the collection site by a Company

 

official or representative. You will be provided
transportation to the collection site and provided
transportation to your residence upon completion of the
specimen collection. Any cost accrued for transportation
will be paid by the company.

 

 

 

 

4. You will be required to sign a form voluntarily
consenting to submit to testing, to provide specimen (s)
as part of testing to release the test results to the
company and its medical review officer. Failure to sign
this form shall result in disciplinary action as set
forth in the program and procedures for disciplinary
action.

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5. You are hereby placed in indefinite suspension without pay
pending the result of the substance abuse test. If the
results are negative, you will be returned to work
immediately and reimbursed for all lost time, and no record
of the testing or indefinite suspension will be placed in
your file.

 

All substance abuse testing required by the Company will be in
accordance with any applicable local, federal, and state laws or
regulations.

Unless you are advised otherwise in writing by the Company,
substance abuse testing for cause shall be for the presence of
alcohol in the system or for the following substances of abuse:
marijuana, cocaine, amphetamines, opiates and phencyclidine.

You are advised that over-the-counter medications or prescribed
drugs may result in a positive test result. For this reason, the
Company's Medical Review Officer may need my assistance in
identifying which medications or drugs I may be taking at the
present time and may have taken within the past thirty (30) days
to ensure accuracy of testing results,

I would like to voluntarily disclose that l am currently taking
the medications (s) listed below:

*Please take a picture ID with you for identification at the time
of testing.

If you have any questions, please contact the undersigned.

Failure to undergo substance abuse testing as required by the
Company may result in disciplinary action.

Director of Environmental Safety and Health,
Personnel Manager, or designee
ccc Medical Review Officer

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APPENDIX C

CONSENT FOR THE RELEASE OF CONFIDENTIAL INFORMATION

 

 

 

I, authorize

(Name of Patient) (Name of Testing Facility)
to disclose to
information

 

(Name of Employer and the Name of the Union)
Regarding the results of any substance abuse test taken by me under
the Agreement covering Drugs and Other Controlled Substances on
Construction Job sites in the State of Hawaii (the “Agreement”).
The purpose of the disclosure authorized herein is to determine
whether I have complied with the provisions of the Agreement.

I understand that my records are protected under the federal
regulations Governing Confidentiality of Alcohol and Drug abuse
Patient records, 42 CFR Part 2, and cannot be disclosed - without
my written consent unless otherwise provided for in the
regulations. I also understand that I may revoke this consent at
any' time except to the extent that action has been. taken in
automatically upon my termination from employment with the above
referenced employer.

 

Signature of patient Date

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APPENDIX D

COLLECTION STATIONS FOR DRUG TESTING

 

Location Contact Person
Straub Beretania Clinic Lois Arakawa, RN
839 South Beretania Street
Honolulu, Hawaii 96813 Ph. 522-4441
Straub Kapolei Clinic Pat Ho
Kapolei Medical Park
599 Farrington Highway, Suite 100 Ph. 674-2930

Straub Mililani Clinic
The Town Center of Mililani
95-1249 Meheula Parkway

Mililani, Hawaii 96789 Ph. 625-6444
Straub Pearlridge Clinic Lisa Hamlett, LPN
98-151 Pali Momi Street, Suite 142

Aiea, Hawaii 96701 Ph. 487-2477/483-6443
Kaneohe Family Health Center Annette DaSilva

Windward Mall (2nd Level)
46-046 Kamehameha Highway

Kaneohe, Hawaii 96744 Ph. M 235-0099
Clinical Labs of Hawaii Adrian Mangiboyat
33 Lanihuli Street Ph. 961-4708
Hilo, Hawaii 96720 Fax. 935-2518
Kona Hospital Laboratory Arlene Rosehill
P O Box 69 (after hours)Nina Garcia
Kealkekua, Hawaii 96760 Ph. 322-9366
'Maui Memorial Hospital (after hours) Wade Hiraga
221 Mahalani Street Ph. 242-2064
Wailuku, Maui, Hawaii 96793 MAUI

Wilcox Memorial Hospital Rolinda Deyro
Laboratory Ph. 245-1088
3420 Kuhio Highway Carlene Oshiro
Lihue, Kauai, Hawaii Ph. 245-1087

**Or any other entity as approved by the Union or Contractor

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AFPENDIX E

WRITTEN CONSENT FOR DISCLOSURE OF INFORMATION CONTAINED IN THE
COMPANY'S RECORDS CONCERNING PARTICIPATION IN EMPLOYEE ASSISTANCE
PROGRAM FOR ALCOHOL OR DRUG ABUSE

 

 

I,
(Name of employee-patient
request/authorize to
(Name of Company)
disclose to the

 

( Name of party to receive information)

following information:

 

for the limited purpose of

 

I understand that this consent is subject to revocation at
any time to the extent that the employer has already disclosed
such information if reliance upon this consent form. If not

previously revoked, this consent will terminate upon

 

(Specific date, event or condition)

 

Signature of Employee

 

Date signed
Original to employee's file

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APPENDIX F

MEMORANDUM

TO:

 

FROM:
(Name of Company)

 

DATE:

 

RE: CONFIDENTIALITY OF ALCOHOL AND DRUG ABUSE PATIENT RECORDS.

The records maintained by

 

_ (Name of Company)
(“the Company”) in relation to its employee assistance program
for alcohol or drug abuse are protected by federal law and
regulations.

The Company cannot disclose information identifying you as a
patient or participant in such program except in the following
limited circumstances.

1. You (the patient) have consented in writing;
2. The disclosure is required by a court order;
3. The information is necessary to meet a medical

emergency involving you;

4. The information is required by qualified personnel or
research, audit or program evaluation.

Violation of the federal law and regulations by a program is a
crime. Suspected violation may be reported to appropriate
authorities in accordance with federal regulations.

Federal law and regulations do not protect any information about
a crime committed by a patient either at the program or against
any person who works for the program or about any threat to
commit such a crime.

Federal laws and regulations do not protect any information about
suspected child abuse or neglect from being reported under state
law to appropriate state or local authorities.

Copy to employee's file
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